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 209 Capitol Street
 Charleston, WV 25301
 Tel: 304.345.6555
 Toll Free: 877.852.0342
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                                                                                           March 2, 2022

Meso Committee                                                                Invoice #:          89153
                                                                              Client #:        MESO001
                                                                              Matter #:         2003903

________________________________________________________________________________________

                                              INVOICE SUMMARY
For professional services rendered through February 28, 2022:

RE:   LTL Bankruptcy

                       Professional Services                          $ 1,273,157.50
                       Total Expenses Advanced                          $ 134,200.48

                       TOTAL THIS INVOICE                             $ 1,407,357.98

                       Outstanding Invoices                             $ 349,671.50

                       TOTAL BALANCE DUE                              $ 1,757,029.48
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Meso Committee                                                                                          March 2, 2022
LTL Bankruptcy                                                                                        Invoice #: 89153


PROFESSIONAL SERVICES RENDERED


B110 Case Administration

   Date   Init   Task   Actv   Description of Service                                        Hours     Rate   Amount
2/01/22   MBB    B110          Review comments from M Cyganowski on FCR candidates.            .10   750.00      75.00
2/02/22   MBB    B110          Prepare daily update email to committee.                        .20   750.00     150.00
2/03/22   MBB    B110          Prepare daily update to committee.                              .20   750.00     150.00
2/04/22   BAG    B110          Meeting with Committee on FCR choice along with                2.00   975.00   1,950.00
                               preparation for meeting.
          KB     B110          Attend meeting of Committees regarding FCR candidates.         1.10   975.00   1,072.50
          TBB    B110          Participating in interviews with potential future claims       1.10   975.00   1,072.50
                               representative candidates of TCC committees.
          MBB    B110          Attend FCR interviews.                                         1.20   750.00    900.00
          MBB    B110          Prepare daily update to committee.                              .10   750.00     75.00
          MBB    B110          Review objection of United States to establishment of           .20   750.00    150.00
                               QSF.
          MBB    B110          Confer with BG team re: consent filed by Debtor re:             .10   750.00     75.00
                               exclusivity motion.
          NLB    B110          FCR interviews.                                                1.10   550.00     605.00
          DTM    B110          Attend meeting with committee on FCR interviews and            2.00   750.00   1,500.00
                               recommendations.
2/07/22   DLS    B110          Communications Re FCR Interviews and New Candidates             .20   750.00    150.00
                               for Interview Today. Review CVs.
          DLS    B110          Meeting for Interview with FCR Candidate.                       .50   750.00     375.00
          TBB    B110          Further zoom meeting to interview potential candidates         1.10   975.00   1,072.50
                               for future claims representative.
          TBB    B110          Reviewing resumes of additional prospective future claims       .40   975.00    390.00
                               representatives and reviewing background information
                               not on resumes..
          MBB    B110          Review entered order extending exclusive periods for            .10   750.00     75.00
                               soliciting acceptances and filing chapter 11 plan.
          MBB    B110          Prepare daily update to committee.                              .20   750.00    150.00
          MBB    B110          Review email from L Reichardt re: selection of slate for        .10   750.00     75.00
                               FCR representatives.
          NLB    B110          Attendance at some FCR interviews.                              .70   550.00    385.00
2/08/22   MBB    B110          Prepare daily update to committee.                              .10   750.00     75.00
          MBB    B110          Review final slate of FCR candidates for TCC I and TCC II.      .10   750.00     75.00
          NLB    B110          Receipt and review of various e-mails re: FCR selections        .30   550.00    165.00
                               and interviews.

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   Date   Init   Task   Actv   Description of Service                                       Hours     Rate   Amount
2/09/22   MBB    B110          Prepare daily update to committee.                             .10   750.00     75.00
2/10/22   MBB    B110          Prepare daily update to the committee.                         .10   750.00     75.00
2/18/22   TBB    B110          Drafting memo regarding defenses to plan approval.             .60   975.00    585.00
2/22/22   JEK    B110          E-mails to and from M. Burrus regarding hearing                .20   325.00     65.00
                               transcripts.
          NLB    B110          Zoom conference with TCC II Professionals.                     .50   550.00    275.00
2/23/22   JEK    B110          Review docket and retrieval of recently field documents       1.10   325.00    357.50
                               and correspondence.
2/24/22   TBB    B110          Review of draft document regarding reformulation of            .10   975.00     97.50
                               creditors' committees and commenting on same.
          JEK    B110          Review docket and retrieval of recently field documents       1.10   325.00    357.50
                               and correspondence.
2/25/22   TBB    B110          Review and commenting on draft letter regarding TCC II         .10   975.00     97.50
                               extension.
          JEK    B110          Review docket and retrieval of recently field documents        .90   325.00    292.50
                               and correspondence.
          NLB    B110          Review and analyze Judge's order on motion to dismiss.        1.70   550.00    935.00
          NLB    B110          Review and analyze order on PI motion.                        1.40   550.00    770.00
          NLB    B110          Zoom conference with representatives and professionals        1.10   550.00    605.00
                               re: Judge's orders and next steps.
          NLB    B110          Receipt and review of various e-mails re: Judge's orders       .20   550.00    110.00
                               and next steps.
2/28/22   PMK    B110          Reviewing MTD orders.                                         1.00   750.00    750.00
          KB     B110          Review email correspondence from Klein et al. re strategy      .10   975.00     97.50
                               going forward.
          KB     B110          Review debtor's letter to court re TCC II extension            .10   975.00     97.50
                               request.
          TBB    B110          Zoom meeting with co-counsel and representatives'             1.20   975.00   1,170.00
                               counsel.
          TBB    B110          Review of and responding to emails regarding FCR along         .80   975.00    780.00
                               with analysis of memorandum on case law dealing with
                               multiple FCRs.
          TBB    B110          Review of case law on appeals of denial of an FCR motion      1.40   975.00   1,365.00
                               along with analyzing same and drafting memo regarding
                               same.
          MBB    B110          Research re: future claims representative.                    2.00   750.00   1,500.00
          MBB    B110          Confer with committee re: appointment of FCR.                 1.10   750.00     825.00
          MBB    B110          Review letter to Court from Jones Day addressing               .10   750.00      75.00
                               dissolution of TCC II.
          NLB    B110          Zoom conference with professionals and representatives        1.20   550.00    660.00
                               re: FCR.

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   Date   Init   Task    Actv   Description of Service                                        Hours     Rate   Amount
          RRB    B110           Review of emails and issues re whether court can appoint        .30   850.00    255.00
                                two FCR's.


                                       Sub-Total of Task               $ 23,035.00

B140 Relief from Stay/

   Date   Init   Task    Actv   Description of Service                                        Hours     Rate   Amount
2/07/22   MBB    B140           Review Debtor's letter to the court objection to filing of      .10   750.00     75.00
                                reply in furtherance of objection to PI by Committee II.
2/18/22   KEC    B140           Attend Preliminary Injunction hearing.                         3.90   750.00   2,925.00
          KB     B140           Attend preliminary injunction hearing (electronically).        3.90   975.00   3,802.50
          TBB    B140           Attending preliminary injunction hearing via Zoom and          3.90   975.00   3,802.50
                                suggesting issues to address.
          MBB    B140           Attend hearing on preliminary injunction.                      3.90   750.00   2,925.00
          NLB    B140           Virtually attend portion of PI hearing.                        3.20   550.00   1,760.00
          RRB    B140           Attend only closing arguments via Zoom of preliminary          2.00   850.00   1,700.00
                                injunction hearing re extension of automatic stay against
                                J&J
          DTM    B140           Attend PI Motion hearing.                                      3.90   750.00   2,925.00


                                       Sub-Total of Task               $ 19,915.00

B150 Meetings of and

   Date   Init   Task    Actv   Description of Service                                        Hours     Rate   Amount
2/01/22   KB     B150           Zoom conference with TCC I and TCC I counsel.                   .90   975.00     877.50
2/04/22   KB     B150           Attend meeting of Meso committee regarding FCR                 2.00   975.00   1,950.00
                                selection, motion for TRO, and dismissal strategy.
2/08/22   KB     B150           Zoom conference with TCC I and TCC II.                          .30   975.00     292.50
2/09/22   KEC    B150           Participate in Committee Counsel and Representative            1.80   750.00   1,350.00
                                strategy call.
2/13/22   CLJ    B150           Conference with co counsel and clients, re: trial              2.10   750.00   1,575.00
                                preparation.
2/20/22   TBB    B150           Zoom meeting with co-counsel and TCC II client                  .80   975.00    780.00
                                representatives on upcoming matters.
2/25/22   KEC    B150           Call with Committee Members, Representatives, and              1.10   750.00    825.00
                                Counsel regarding Motion to Dismiss Order and
                                Preliminary Injunction Order.



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  Date    Init   Task   Actv   Description of Service                                        Hours     Rate   Amount
          KB     B150          Zoom conference with committee re decisions and                1.10   975.00   1,072.50
                               responses to them.
          CLJ    B150          Conference with counsel and clients, re: opinion from          1.10   750.00    825.00
                               court.
2/28/22   KEC    B150          Participate in Committee Representative and Counsel call       1.10   750.00    825.00
                               regarding Future Claims Representative appointment.
          KB     B150          Zoom conference with committee representatives re FCR          1.10   975.00   1,072.50
                               response.


                                       Sub-Total of Task             $ 11,445.00

B160 Fee/Employment Applic

   Date   Init   Task   Actv   Description of Service                                        Hours     Rate   Amount
2/02/22   KB     B160          Email correspondence with M Burrus re fee application           .10   975.00     97.50
                               timing and preparation.
          TBB    B160          Call with G. Spruce regarding pre-bill issues for January       .30   975.00    292.50
                               2022 and ledes format for LTL and UST.
2/03/22   TBB    B160          Further review and verification of time being allocated to     1.90   975.00   1,852.50
                               correct UST and Bankruptcy Court requirements and
                               billing numbers.
2/04/22   TBB    B160          Further review of draft bill for January 2022 for               .80   975.00    780.00
                               compliance with UST and Court requirements.
          TBB    B160          Working on monthly fee statement cover documents               1.90   975.00   1,852.50
                               along with emails requesting added information.
2/05/22   TBB    B160          Determining amounts for various categories on fee              2.20   975.00   2,145.00
                               statement cover sheet and drafting portions thereof.
2/07/22   TBB    B160          Finalizing fee cover sheet and related documents along         2.80   975.00   2,730.00
                               with emails regarding filing and service of third monthly
                               fee statement, cover sheet, and exhibits.
          JEK    B160          E-mails to and from T. Bennett regarding third monthly          .10   325.00     32.50
                               fee statement of Bailey & Glasser LLP.
          JEK    B160          Revise third monthly fee application and e-mail to R.           .40   325.00    130.00
                               Switkes for e-filing.
2/08/22   TBB    B160          Assembling and sending January billing information to           .40   975.00    390.00
                               counsel for LTL per request of counsel.
2/10/22   MBB    B160          Review Debtor's application to appoint Orrick as appellate      .20   750.00    150.00
                               counsel.
2/16/22   TBB    B160          Call with G. Spruce regarding ledes access for quarterly        .10   975.00     97.50
                               fee application.



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   Date   Init   Task   Actv   Description of Service                                             Hours     Rate   Amount
2/18/22   TBB    B160          Correspondence with B. Glasser and K. Barrett regarding              .10   975.00     97.50
                               information for first fee application.
2/19/22   KB     B160          Correspondence with Glasser and Bennett re fee                       .20   975.00    195.00
                               application and budgeting, including research re same.
2/21/22   MBB    B160          Confer with J. Kittinger re: deadline to file certificate of no      .10   750.00     75.00
                               objection to fee application.
          MBB    B160          Review draft certificate of no objection and circulate               .10   750.00     75.00
                               comment to J. Kittinger and K. Barrett.
          JEK    B160          Draft certificate of no objection to Bailey and Glasser LLP's        .30   325.00     97.50
                               Fee Statement for January 2022.
          JEK    B160          E-mails to and from K. Barrett and M. Burrus regarding               .20   325.00     65.00
                               certificate of no objection to Bailey and Glasser LLP's Fee
                               Statement for January 2022.
          JEK    B160          E-mails to and from M. Burrus and K. Barrett regarding               .20   325.00     65.00
                               certificate of no objection to Bailey & Glasser's monthly
                               fee statement for January 2022.
          JEK    B160          Draft certificate of no objection to Bailey & Glasser's              .30   325.00     97.50
                               monthly fee statement for January 2022 and e-mail to K.
                               Barrett.
2/22/22   TBB    B160          Review of docket to verify no objections filed, responding           .30   975.00    292.50
                               to G. Spruce on preparation of pre-bill, and commenting
                               on issues regarding pre-bill.
          JEK    B160          Finalize certificate of no objection to Bailey and Glasser           .30   325.00     97.50
                               LLP's Fee Statement for January 2022 and e-mail to R.
                               Switkes
2/23/22   TBB    B160          Review of pre-bill to ensure proper allocation of time into          .60   975.00    585.00
                               UST and Court required categories along with correcting
                               improper allocations and call with G. Spruce regarding
                               same.
2/24/22   TBB    B160          Further review of pre-bill for proper allocation of time and        2.10   975.00   2,047.50
                               expenses to UST and Court required categories.
2/25/22   TBB    B160          Further review of pre-bill entries for correct allocation           3.10   975.00   3,022.50
                               under UST and Court guidelines.
2/28/22   KB     B160          Email correspondence with FTI and Gibson Dunn re FTI                 .10   975.00     97.50
                               retention status.
          KB     B160          Confer with FTI and Neuberger re FTI engagement.                     .50   975.00    487.50
          KB     B160          Email correspondence with S Beville and FTI re                       .10   975.00     97.50
                               continuance of hearing,
          TBB    B160          Review of pre-bill expense items for proper classification           .30   975.00    292.50
                               under UST and court guidelines along with
                               correspondence with G. Spruce on proper treat



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                                         Sub-Total of Task              $ 18,337.50

B170 Fee/Employment Objections

   Date   Init   Task    Actv    Description of Service                                       Hours      Rate   Amount
2/04/22   KB     B170            Email correspondence with D Prieto re Skadden order,           .10    975.00     97.50
                                 including review of same.


                                         Sub-Total of Task                $ 97.50

B190 Other Contested Matters

   Date   Init    Task    Actv    Description of Service                                     Hours      Rate    Amount
2/01/22   BAG     B190            Continued work on surreply brief for motion to dismiss.     1.30    975.00    1,267.50
          BAG     B190            Take Kim 30(b)(6) deposition.                               4.90    975.00    4,777.50
          BAG     B190            Meeting with co-counsel on motion to dismiss brief          1.10    975.00    1,072.50
                                  strategy.
          KEC     B190            Attend deposition of LTL 30(b)(6) John Kim.                 4.90    750.00    3,675.00
          KEC     B190            Attend Committee counsel strategy call regarding             .80    750.00      600.00
                                  Committee working meeting.
          KEC     B190            Analysis and work with custodian file of Adam Lisman in      .70    750.00     525.00
                                  preparation for deposition.
          KEC     B190            Communication with Committee Counsel and                    1.10    750.00     825.00
                                  Representatives regarding Motion to Dismiss discovery
                                  productions and analysis.
          TLC     B190            Reviewed, analyzed, and coded docs. Drafting of             8.50    550.00    4,675.00
                                  calendar entries chart.
          KB      B190            Review and revise draft reply brief on motion to dismiss    2.00    975.00    1,950.00
                                  and email correspondence with BG team re same.
          KB      B190            Confer with A Abramowitz re reply brief.                     .30    975.00      292.50
          KB      B190            Further review and revision of reply brief and email        2.70    975.00    2,632.50
                                  correspondence with Cooley, Massey, and Waldrep re
                                  same.
          KB      B190            Confer with D Selby re reply brief draft.                    .20    975.00     195.00
          KB      B190            Brief conference with A Abramowitz re revised draft          .10    975.00      97.50
                                  reply brief.
          KB      B190            Confer with C Joshi (2x) and Glasser re reply brief and      .20    975.00     195.00
                                  distribution.
          KB      B190            Further review and revision of draft reply brief.            .50    975.00     487.50
          KB      B190            Zoom conference with co-counsel re reply brief and          1.00    975.00     975.00
                                  strategy session.


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  Date   Init    Task   Actv   Description of Service                                       Hours     Rate   Amount
         KB      B190          Further review and revision of draft reply brief.              .70   975.00    682.50
         KB      B190          Confer with Glasser and BG team to prepare for strategy        .40   975.00    390.00
                               meeting.
         KB      B190          Confer with A Abramowitz re reply brief.                       .10   975.00      97.50
         CLJ     B190          Edit MTD reply brief.                                         2.20   750.00   1,650.00
         CLJ     B190          Prepare letter and arguments for discovery hearing.           2.30   750.00   1,725.00
         CLJ     B190          Prepare for client meeting.                                   3.20   750.00   2,400.00
         CLJ     B190          Conference with co-counsel, re: MTD reply.                    1.00   750.00     750.00
         CLJ     B190          Conference with co-counsel, re: discovery issues for           .50   750.00     375.00
                               hearing.
         TBB     B190          Review and analysis of combined reply brief along with        2.40   975.00   2,340.00
                               indicating/drafting needed changes thereto.
         TBB     B190          Zoom meeting with co-counsel on issues and                    1.00   975.00     975.00
                               presentation in reply brief to debtor's objection to
                               motion to dismiss.
         MBB     B190          Confer with TCC 1 and TCC 2 counsel re trial strategy.        1.00   750.00     750.00
         MBB     B190          Confer with committee professionals re: trial strategy.       1.00   750.00     750.00
         MBB     B190          Review Cooley draft reply to motion to dismiss.                .50   750.00     375.00
         MBB     B190          Review redlines and prepare comments to multiple              2.20   750.00   1,650.00
                               drafts of reply to motion to dismiss.
         MBB     B190          Confer with committee re: hearing on motions for leave         .10   750.00      75.00
                               to file amicus briefs.
         MBB     B190          Review Jones Day letter to court re: discovery disputes.       .10   750.00      75.00
         MBB     B190          Review Jones Day letter to court re: privilege issues.         .10   750.00      75.00
         MBB     B190          Review Cooley edits to draft motion to dismiss.                .50   750.00     375.00
         JEK     B190          Review docket and retrieval of recently field documents       2.50   325.00     812.50
                               and correspondence.
         JEK     B190          E-mails to and from J. Baugh regarding service of              .10   325.00      32.50
                               subpoena on S&P Global.
         JEK     B190          E-mails to and from N. Ballante regarding deposition of J.     .10   325.00      32.50
                               Kim.
         ECM     B190          Review potential deposition exhibits provided by K             .80   550.00     440.00
                               Charonko to identify duplicates of items already in
                               exhibit list.
         ECM     B190          BG task call in preparation for presentation at in person      .50   550.00     275.00
                               meeting of counsel.
         ECM     B190          Update witness list with exhibits from J Kim deposition.       .90   550.00     495.00
         NLB     B190          Attendance at continued deposition of John Kim.               5.60   550.00   3,080.00
         NLB     B190          Telephone conference with committee professionals.            1.00   550.00     550.00
         NLB     B190          Summary of John Kim deposition (personal capacity).           1.90   550.00   1,045.00


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  Date    Init   Task   Actv   Description of Service                                    Hours     Rate   Amount
          RRB    B190          T/c with Cooley and BG team on reply brief and trial       1.00   850.00    850.00
                               issues.
          RRB    B190          T/c with BG team on trial prep assignments.                 .50   850.00     425.00
          RRB    B190          Review of Kim deposition (day 1) for use at trial.         2.60   850.00   2,210.00
          RRB    B190          Review and revise proof outline.                           2.20   850.00   1,870.00
          RRB    B190          Confer with Turner re Kim testimony and proof outline.      .30   850.00     255.00
          JGT    B190          Telephone conference with Bell regarding status.            .30   850.00     255.00
          JGT    B190          Telephone conference with Cary regarding strategy for       .20   850.00     170.00
                               upcoming hearing on trial logistics.
          JGT    B190          Continue to work on Proof Outline.                          .80   850.00     680.00
          JGT    B190          Attend portions of the Kim 30(b)(6) deposition.            4.00   850.00   3,400.00
          JGT    B190          Telephone conference with Meso Committee legal team        1.00   850.00     850.00
                               regarding the MTD Reply brief.
          JGT    B190          Telephone conference with internal team regarding           .50   850.00     425.00
                               upcoming meeting.
          JGT    B190          Continue to work on demonstratives for the MTD              .50   850.00     425.00
                               hearing.
          JGT    B190          Begin work on designating Ryan deposition testimony.        .50   850.00     425.00
          DTM    B190          Attend depo of 30b6 in prep for MTD.                       6.10   750.00   4,575.00
          DTM    B190          BG meeting to discuss MTD preparation.                      .50   750.00     375.00
          CTN    B190          Catalog exhibits.                                           .80   550.00     440.00
2/02/22   BAG    B190          Edits to Surreply brief as well as calls on same.          1.20   975.00   1,170.00
          BAG    B190          Work on order of proof as well as associated slides.       2.10   975.00   2,047.50
          BAG    B190          Close read of Mongon deposition transcript to begin        2.80   975.00   2,730.00
                               preparation of trial examination.
          BAG    B190          Meeting with my team to discuss items to cover at the      1.50   975.00   1,462.50
                               meeting of the committee.
          KEC    B190          Attend Discovery Hearing.                                  1.00   750.00     750.00
          KEC    B190          Communication with Committee Counsel and                   1.60   750.00   1,200.00
                               Representatives regarding Motion to Dismiss Discovery,
                               Reply Briefing, and discovery conference.
          KEC    B190          Attend working call with Motion to Dismiss experts.        1.00   750.00     750.00
          KEC    B190          Document analysis and continued work on Motion to          4.30   750.00   3,225.00
                               Dismiss trial preparation.
          KEC    B190          Analysis and work with late production and reproduction    1.10   750.00     825.00
                               of redacted documents served by Debtor's counsel.
          KEC    B190          Analysis and working on necessary materials for             .80   750.00     600.00
                               Committee meeting for Motion to Dismiss team.




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Meso Committee                                                                                        March 2, 2022
LTL Bankruptcy                                                                                      Invoice #: 89153

  Date   Init    Task   Actv   Description of Service                                     Hours     Rate   Amount
         KEC     B190          Communication with Debtor's counsel regarding                .30   750.00    225.00
                               outstanding discovery productions and follow-up
                               responses regarding Motion to Dismiss.
         DLS     B190          Work on Final Order of Proof and Other Agenda Items         2.50   750.00   1,875.00
                               for Committee/Counsel Meetings on 2/3 and 2/4 in
                               Miami.
         TLC     B190          Reviewed, analyzed, and coded docs along with drafting      8.20   550.00   4,510.00
                               of calendar entries chart.
         KB      B190          Review and revise draft reply brief and email               3.90   975.00   3,802.50
                               correspondence and conferences with Glasser and
                               Bennett re same.
         KB      B190          Email correspondence with Glasser, Busch, and Selby          .60   975.00     585.00
                               and conferences with Glasser and Selby re strategy
                               presentation status.
         KB      B190          Confer with L Busch re trial strategy and meeting re         .10   975.00      97.50
                               same.
         KB      B190          Confer with Glasser re trial strategy meeting.               .10   975.00      97.50
         KB      B190          Confer with Selby re trial strategy meeting and              .20   975.00     195.00
                               preparation.
         KB      B190          Review draft TCC I reply brief.                              .20   975.00     195.00
         KB      B190          Confer with Glasser re trial strategy.                       .60   975.00     585.00
         CLJ     B190          Prepare designations for trial.                              .50   750.00     375.00
         CLJ     B190          Update order of proof.                                       .70   750.00     525.00
         CLJ     B190          Correspond with co counsel, re: trial plans.                 .90   750.00     675.00
         CLJ     B190          Prepare for hearing.                                         .70   750.00     525.00
         CLJ     B190          Attend discovery hearing.                                   1.00   750.00     750.00
         CLJ     B190          Edit MTD reply brief.                                       1.60   750.00   1,200.00
         CLJ     B190          Conference with Ducera, re: experts.                        1.00   750.00     750.00
         CLJ     B190          Correspond with opposing counsel, re: discovery and          .70   750.00     525.00
                               depositions.
         TBB     B190          Review and analysis of proposed revisions to reply brief    2.10   975.00   2,047.50
                               and addressing re-insertion of selected deletions.
         TBB     B190          Attending Court hearing on trial and discovery matters      1.00   975.00     975.00
                               on the motion to dismiss.
         TBB     B190          Analysis of Committee I's draft brief and commenting on      .40   975.00     390.00
                               same.
         MBB     B190          Attend status conference re: discovery and trial            1.00   750.00     750.00
                               mechanics.
         MBB     B190          Review debtors' multiple letters to the court addressing     .30   750.00     225.00
                               trial mechanics, privilege issues, and the disclosure of
                               the Mullins expert report from Imerys.

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Meso Committee                                                                                         March 2, 2022
LTL Bankruptcy                                                                                       Invoice #: 89153

  Date   Init    Task   Actv   Description of Service                                      Hours     Rate   Amount
         MBB     B190          Review and prepare comment on draft reply to motion          1.80   750.00   1,350.00
                               to dismiss.
         MBB     B190          Review debtor's objection to the amici curiae briefs.         .70   750.00     525.00
         MBB     B190          Review J. Ledwidge comments re: debtor's response to          .10   750.00      75.00
                               amici briefs.
         JEK     B190          Review docket and retrieval of recently field documents      2.20   325.00     715.00
                               and correspondence.
         JEK     B190          Update case calendar regarding hearing dates and              .20   325.00      65.00
                               objection deadlines.
         JEK     B190          E-mails to and from M. Burrus, K. Barrett, B. Glasser and     .20   325.00      65.00
                               T. Bennett regarding telephonic appearance at Discovery
                               Conference scheduled for February 2, 2022.
         ECM     B190          Update exhibit list with exhibits from J Kim deposition.     1.00   550.00     550.00
         ECM     B190          Assist B Glasser at pretrial hearing re: timing and          1.00   550.00     550.00
                               scheduling.
         ECM     B190          Draft summary of deposition of J Kim as 30(b)(6) rep.        5.40   550.00   2,970.00
         ECM     B190          Review documents from debtor's January 29 production.         .30   550.00     165.00
         ECM     B190          Draft summary of Kahn's questioning in Michelle Ryan          .70   550.00     385.00
                               deposition.
         NLB     B190          Finalize summary of John Kim deposition (personal            5.20   550.00   2,860.00
                               capacity).
         NLB     B190          Attendance at discovery conference before Judge              1.00   550.00     550.00
                               Kaplan.
         NLB     B190          Correspondence with opposing counsel re: MSJ hearing          .30   550.00     165.00
                               scheduled and settlement agreement.
         RRB     B190          Attend zoom hearing with court re trial schedule and         1.00   850.00     850.00
                               issues re time and witnesses, etc.
         RRB     B190          Review of reply briefs                                        .70   850.00     595.00
         RRB     B190          Review of Kim 30b6 deposition and selected excerpts for      2.60   850.00   2,210.00
                               use at trial.
         RRB     B190          Review and revise proof outline.                             1.80   850.00   1,530.00
         RRB     B190          Review and respond to emails re discovery and trial           .30   850.00     255.00
                               issues.
         RRB     B190          Review and revise proof outline.                             1.20   850.00   1,020.00
         RRB     B190          Various conferences with Turner re proof outline and          .40   850.00     340.00
                               evidence in support.
         JGT     B190          Work on witness related demonstratives for upcoming           .90   850.00     765.00
                               meeting.
         JGT     B190          Review drafts of the MTD Reply Brief.                         .70   850.00     595.00
         JGT     B190          Assist team with preparation for meeting with co-            4.50   850.00   3,825.00
                               counsel and representatives.

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Meso Committee                                                                                        March 2, 2022
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  Date    Init   Task   Actv   Description of Service                                     Hours     Rate   Amount
          JGT    B190          Telephone conferences with Robert Bell regarding status      .40   850.00    340.00
                               of pending matters.
          JGT    B190          Telephone conference with Kevin Barrett regarding            .20   850.00     170.00
                               status of pending matters.
          DTM    B190          Attend Discovery conference.                                1.00   750.00     750.00
          DTM    B190          Meeting with MTD team in prep for Miami meeting.            1.20   750.00     900.00
          DTM    B190          Preparation of exhibits and handouts for the Miami          3.20   750.00   2,400.00
                               meeting with committee.
          CTN    B190          Catalog Kim deposition transcript and exhibits.              .50   550.00     275.00
          CTN    B190          Locate, catalog documents for chronology.                   3.80   550.00   2,090.00
2/03/22   BAG    B190          Walking the committee through the opening as well as        4.50   975.00   4,387.50
                               entire order of proof.
          BAG    B190          Meeting with Speckhart, Klein, Busch and Barrett on         1.10   975.00   1,072.50
                               planning for meeting today.
          KEC    B190          Analysis and work with late production and reproduction     1.20   750.00     900.00
                               of redacted documents served by Debtor's counsel.
          KEC    B190          Communication with Motion to Dismiss team regarding         1.30   750.00     975.00
                               analysis and work with VOL012 production and
                               reproduction of redacted documents served by Debtor's
                               counsel.
          KEC    B190          Attend hearing regarding amicus briefing filings.           1.60   750.00   1,200.00
          KEC    B190          Analysis and communication regarding filing of letter to     .90   750.00     675.00
                               the Court regarding discovery issues.
          KEC    B190          Analysis, revisions, and assisting with exhibits and        1.70   750.00   1,275.00
                               proofing of Reply to Motion to Dismiss brief.
          KEC    B190          Attend and participate in Committee meeting regarding       3.80   750.00   2,850.00
                               Motion to Dismiss and Preliminary Injunction.
          KEC    B190          Communication with Committee counsel regarding               .60   750.00     450.00
                               Motion to Dismiss preparation.
          KEC    B190          Strategy call with J. Turner regarding Motion to Dismiss     .20   750.00     150.00
                               trial preparation.
          DLS    B190          Final Preparation on Order of Proof and Other Agenda        3.30   750.00   2,475.00
                               Items for Committee/Counsel Meetings on 2/3 and 2/4
                               in Miami.
          DLS    B190          Attend and Participate in Committee/Counsel Meetings        3.80   750.00   2,850.00
                               to Prepare for MTD Hearing.
          KB     B190          Meeting with L Busch, B Glasser, C Speckhart and M          1.70   975.00   1,657.50
                               Klein re strategy and strategy meeting.
          KB     B190          Confer with Glasser, Selby and Matthews re strategy          .10   975.00      97.50
                               session and preparation.



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Meso Committee                                                                                       March 2, 2022
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  Date   Init    Task   Actv   Description of Service                                    Hours     Rate   Amount
         KB      B190          Confer with M Burrus and E McGraw re preparation for        .60   975.00    585.00
                               hearing on motion to dismiss and Gordon letter to court
                               re protective order violations.
         KB      B190          Confer with Cooley re reply brief.                          .50   975.00     487.50
         KB      B190          Attend strategy meeting on motion to dismiss.              4.40   975.00   4,290.00
         KB      B190          Conferences with Glasser, Selby, and Matthews in           1.20   975.00   1,170.00
                               advance of strategy meeting.
         CLJ     B190          Attend all counsel and client meeting re: trial            4.40   750.00   3,300.00
                               preparation.
         CLJ     B190          Prepare judicial notice request.                            .30   750.00     225.00
         CLJ     B190          Correspond with co-counsel, re: depositions.                .70   750.00     525.00
         CLJ     B190          Finalize reply brief.                                       .70   750.00     525.00
         CLJ     B190          Follow up on client discovery requests.                    1.40   750.00   1,050.00
         CLJ     B190          Review expert reports.                                      .90   750.00     675.00
         TBB     B190          Attending court hearing on amici briefs and discovery      1.60   975.00   1,560.00
                               issues.
         TBB     B190          Zoom meeting with co-counsel regarding motion to           4.40   975.00   4,290.00
                               dismiss issues and strategy.
         MBB     B190          Review certain documents produced by Debtor in              .10   750.00      75.00
                               discovery.
         MBB     B190          Call with KB and E McGraw re trial preparation.             .60   750.00     450.00
         MBB     B190          Attend trial preparation meetings.                         4.40   750.00   3,300.00
         MBB     B190          Review A&I's reply to the its motion to dismiss.            .70   750.00     525.00
         MBB     B190          Review Talc Committee I's reply to the motion to            .20   750.00     150.00
                               dismiss.
         MBB     B190          Attend hearing re: amici motions.                          1.60   750.00   1,200.00
         MBB     B190          Research re: potential plan-related issues.                1.30   750.00     975.00
         JEK     B190          Review docket and retrieval of recently field documents    1.80   325.00     585.00
                               and correspondence.
         ECM     B190          Update exhibit list with exhibits from 30(b)(6)             .60   550.00     330.00
                               deposition.
         ECM     B190          Attend portion of hearing on on judge's acceptance of      1.00   550.00     550.00
                               amici briefs by law professors.
         ECM     B190          Call with Kevin and Maggie re: upcoming tasks.              .40   550.00     220.00
         NLB     B190          Discovery conference before Judge Kaplan.                  1.60   550.00     880.00
         NLB     B190          Zoom appearance at part of meeting between                 3.30   550.00   1,815.00
                               professionals and representatives.
         NLB     B190          Review and tracking of J. Kim document production.         5.90   550.00   3,245.00
         RRB     B190          Review of documents produced by debtor; review and         1.80   850.00   1,530.00
                               respond to emails re same.


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Meso Committee                                                                                          March 2, 2022
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  Date    Init   Task   Actv   Description of Service                                       Hours     Rate   Amount
          RRB    B190          Attend court hearing on amicus briefs.                        1.60   850.00   1,360.00
          RRB    B190          Attend via zoom trial strategy and prep meeting with          4.40   850.00   3,740.00
                               Cooley and BG teams and with committee.
          RRB    B190          T/c with Turner re latest LTL production.                      .20   850.00     170.00
          RRB    B190          T/c with Turner and Joshi re judicial notice project.          .30   850.00     255.00
          RRB    B190          T/c with Turner re case status.                                .20   850.00     170.00
          RRB    B190          Review of issues and t/c's re accounting issues re            1.00   850.00     850.00
                               assigning liabilities from a final judgment on
                               consolidated financial statements.
          JGT    B190          Review and analysis of latest productions by Debtor.           .40   850.00     340.00
          JGT    B190          Telephone conference with Bell regarding recent                .20   850.00     170.00
                               productions by Debtor.
          JGT    B190          Review bankruptcy docket and review recent filings.            .70   850.00     595.00
          JGT    B190          Telephone conference with Kate Charonko regarding the          .20   850.00     170.00
                               recent productions.
          JGT    B190          Attend hearing on the Amicus briefs.                          1.50   850.00   1,275.00
          JGT    B190          Telephone conference with Robert B. regarding status.          .20   850.00     170.00
          JGT    B190          Telephone conference with Bell and Joshi regarding             .30   850.00     255.00
                               judicial notice issues.
          JGT    B190          Work on demonstrative slide requested by Glasser.              .30   850.00     255.00
          JGT    B190          Attend portion of meeting with co-counsel and                 3.50   850.00   2,975.00
                               representative's counsel.
          JGT    B190          Extended telephone conference with Bell regarding             1.00   850.00     850.00
                               issues to be addressed in the upcoming Lisman
                               deposition.
          DTM    B190          Attend meeting in person counsel with client                  5.50   750.00   4,125.00
                               representatives to discuss MTD.
          DTM    B190          Attend part of hearing on Amicus brief issues.                1.30   750.00     975.00
2/04/22   BAG    B190          Final meeting on trial strategy with some committee           1.20   975.00   1,170.00
                               representatives.
          KEC    B190          Strategy calls with Motion to Dismiss litigation teams        1.10   750.00     825.00
                               regarding trial preparation, exhibit list and deposition
                               designation exchange deadlines.
          KEC    B190          Communication regarding Debtor's filings on                   1.10   750.00     825.00
                               confidentiality order, exhibit list exchange and privilege
                               log challenges.
          KEC    B190          Analysis and summarizing information regarding                2.30   750.00   1,725.00
                               redacted documents for privilege challenges.
          KEC    B190          Analysis of and summarizing VOL013 production from            1.10   750.00     825.00
                               Debtor's counsel.



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Meso Committee                                                                                          March 2, 2022
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  Date   Init    Task   Actv   Description of Service                                       Hours     Rate   Amount
         DLS     B190          Attend and Participate in Committee/Counsel Meetings          4.00   750.00   3,000.00
                               to Prepare for MTD Hearing.
         KB      B190          Review filed brief of TCC II.                                  .10   975.00      97.50
         KB      B190          Review TCC I and Arnold & Itkin reply briefs.                  .20   975.00     195.00
         KB      B190          Review motion for TRO against Reuters.                         .10   975.00      97.50
         KB      B190          Meeting with Glasser, Selby, and Matthews re motion to         .70   975.00     682.50
                               dismiss trial strategy and related matters.
         KB      B190          Review article and Debtor's response to same.                  .30   975.00     292.50
         KB      B190          Detailed review of TCC I and Arnold-Itkan reply briefs        1.10   975.00   1,072.50
                               and brief research re same.
         CLJ     B190          Prepare witness declarations.                                 1.80   750.00   1,350.00
         CLJ     B190          Correspond with counsel, re: confidentiality and               .90   750.00     675.00
                               privilege issues.
         CLJ     B190          Draft request for judicial notice.                             .50   750.00     375.00
         CLJ     B190          Conference with co-counsel, re: trial prep.                    .60   750.00     450.00
         CLJ     B190          Prepare depositions designations.                             1.20   750.00     900.00
         CLJ     B190          Prepare exhibit list for trial.                               1.30   750.00     975.00
         CLJ     B190          Prepare subpoena for A. Lisman.                                .40   750.00     300.00
         CLJ     B190          Follow up with co-counsel on trial preparation.               1.10   750.00     825.00
         CLJ     B190          Review past testimony of M. Diaz.                              .60   750.00     450.00
         TBB     B190          Zoom meeting with co-counsel and counsel for members          1.80   975.00   1,755.00
                               of TCC II regarding various matters relating to motion to
                               dismiss and responses to injunction matters.
         MBB     B190          Confer with committee re: February 3 transcript.               .10   750.00      75.00
         MBB     B190          Confer with BG team re: notices of deposition for              .20   750.00     150.00
                               experts.
         MBB     B190          Review Reuters's response to Debtor's motion for TRO           .10   750.00      75.00
                               and preliminary injunction.
         MBB     B190          Confer with C. Joshi and R. Switkes re: motions in limine.     .10   750.00      75.00
         MBB     B190          Review email from FTI re media publications / Reuters          .20   750.00     150.00
                               article.
         MBB     B190          Review correspondence from Reuters to Court post-              .20   750.00     150.00
                               publication of J&J article.
         MBB     B190          Review voicemail from A&I re: deposition designations.         .10   750.00      75.00
         MBB     B190          Confer with C. Joshi re: deposition designations.              .10   750.00      75.00
         MBB     B190          Review certificate of consent filed by Debtor re:              .10   750.00      75.00
                               exclusivity motion.
         MBB     B190          Review letter from Jones Day to Court re:                      .10   750.00      75.00
                               communications with Reuters and publication of article.
         MBB     B190          Confer with J. Kittinger re: task list for trial prep.         .20   750.00     150.00

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Meso Committee                                                                                            March 2, 2022
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  Date   Init    Task   Actv   Description of Service                                         Hours     Rate   Amount
         MBB     B190          Confer with J. Turner re: hearing preparation.                   .20   750.00    150.00
         MBB     B190          Review A&I's reply to motion to dismiss.                         .80   750.00    600.00
         MBB     B190          Review TCC 1 reply to motion to dismiss.                         .30   750.00    225.00
         JEK     B190          Review docket and retrieval of recently field documents         1.60   325.00    520.00
                               and correspondence.
         JEK     B190          Update case calendar regarding new deposition dates.             .40   325.00     130.00
         JEK     B190          Retrieval of documents related to Motion to Dismiss and          .40   325.00     130.00
                               e-mail to R. Katz.
         JEK     B190          E-mails to and from C. Joshi, regarding copies of                .10   325.00      32.50
                               documents for hearing scheduled for February 14, 2022
                               to February 18, 2022.
         JEK     B190          E-mails to and from C. Joshi regarding deposition of G.          .10   325.00      32.50
                               Bell.
         JEK     B190          E-mails to and from A. Portwood regarding updated                .10   325.00      32.50
                               transcript from deposition of M. Ryan.
         JEK     B190          E-mails to and from G. Starner regarding deposition of A.        .10   325.00      32.50
                               Lisman.
         JEK     B190          E-mails to and from C. Joshi, M. Burrus and R. Switkes           .20   325.00      65.00
                               regarding copies of document to be sent to the Court.
         JEK     B190          E-mail to N. Cambell at Court Reporter regarding for             .10   325.00      32.50
                               subpoena for deposition of A. Lisman.
         JEK     B190          Coordinate service of subpoena for deposition of A.              .20   325.00      65.00
                               Lisman.
         JEK     B190          Finalize for filing and e-file subpoena for deposition of A.     .20   325.00      65.00
                               Lisman.
         JEK     B190          E-mails to and from C. Joshi regarding subpoena for              .10   325.00      32.50
                               deposition of A. Lisman.
         JEK     B190          Retrieval of hearing transcripts from North Carolina             .20   325.00      65.00
                               proceedings and e-mail to . J. Turner
         ECM     B190          Attend task meeting with C Joshi, R Bell, K Charonko.            .50   550.00     275.00
         ECM     B190          Draft declaration of Kristie Doyle, call with C Joshi re:       1.40   550.00     770.00
                               same. Review docket re: same for additional
                               information.
         ECM     B190          Draft letter to Debtor's counsel re: exhibit list.               .70   550.00     385.00
         NLB     B190          Review TRO motion by Debtor.                                     .40   550.00     220.00
         NLB     B190          Meeting with committee professionals and                        1.50   550.00     825.00
                               representatives.
         NLB     B190          Document review of non-attorney production.                     1.90   550.00   1,045.00
         NLB     B190          Create memorandum re: redacted documents and                    1.10   550.00     605.00
                               inconsistencies therein.
         NLB     B190          Review Volume 12 document set.                                   .90   550.00     495.00

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Meso Committee                                                                                         March 2, 2022
LTL Bankruptcy                                                                                       Invoice #: 89153

  Date    Init   Task   Actv   Description of Service                                      Hours     Rate   Amount
          RRB    B190          Participate by zoom meeting with BG team and Cooley           .50   850.00    425.00
                               team and committee re trial strategy and issues re TRO.
          RRB    B190          Zoom call with BG team re status of projects                  .50   850.00     425.00
          RRB    B190          Review of Lisman testimony from PI case for upcoming          .30   850.00     255.00
                               deposition
          RRB    B190          Assist in preparation for Lisman deposition including        1.50   850.00   1,275.00
                               review of issues re accounting standards on judgments
                               and t/c with consultant re same
          RRB    B190          Review of Debtor's motion and Reuter's response along         .70   850.00     595.00
                               with reviewing and responding to emails re same.
          RRB    B190          Review and select deposition testimony for trial.            3.30   850.00   2,805.00
          RRB    B190          Email exchanges with BG team and Cooley RE trial              .40   850.00     340.00
                               issues.
          RRB    B190          Review and select exhibits for trial.                         .70   850.00     595.00
          JGT    B190          Identify and review material for possible use in the          .80   850.00     680.00
                               upcoming Lisman deposition.
          JGT    B190          Review the following pleadings filed yesterday: (1) TCC 1    1.00   850.00     850.00
                               and A&I Reply Briefs regarding MTD & (2) Debtor's TRO
                               Motion.
          JGT    B190          Telephone conference with Robert Bell and Nicole              .40   850.00     340.00
                               Ballante regarding issues relating to dismissal of our
                               remaining claims and exchange e-mails regarding same.
          JGT    B190          Telephone conference with Bell regarding additional           .50   850.00     425.00
                               issues relating to the upcoming Lisman deposition.
          JGT    B190          Work on obtaining additional material (at Glasser's          1.50   850.00   1,275.00
                               request) regarding previous Kim testimony.
          JGT    B190          Work on issues relating to the filing of Request for         2.00   850.00   1,700.00
                               Judicial Notice.
          JGT    B190          Continued attention to issues that will need to be            .50   850.00     425.00
                               addressed in the Lisman deposition.
          JGT    B190          Prepare for work with team on upcoming MTD hearing.          1.00   850.00     850.00
          DTM    B190          Attend final meeting in prep for MTD.                        1.30   750.00     975.00
          CTN    B190          Catalog supporting documents for LTL chronology.             6.80   550.00   3,740.00
2/05/22   BAG    B190          Work on opening, including coordinating calls with co-       5.30   975.00   5,167.50
                               movants lawyers as well as Cullen.
          BAG    B190          Work on preparation to take Lisman deposition.               4.10   975.00   3,997.50
          KEC    B190          Communication with Committee Counsel and                      .50   750.00     375.00
                               Committee Representatives regarding Motion to Dismiss
                               discovery VOL013 and claw back documents.
          KEC    B190          Analysis of VOL013 production for Adam Lisman                3.20   750.00   2,400.00
                               deposition preparation materials.


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Meso Committee                                                                                         March 2, 2022
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  Date   Init    Task   Actv   Description of Service                                      Hours     Rate   Amount
         KEC     B190          Strategy and drafting summary materials of VOL013            1.10   750.00    825.00
                               production for Adam Lisman deposition preparation
                               materials.
         KEC     B190          Communication regarding privilege challenges with             .90   750.00     675.00
                               Committee Counsel and Representatives.
         KB      B190          Review Molton letter to court re J&J allegations relating     .10   975.00      97.50
                               to Reuters article.
         KB      B190          Email correspondence with M. Klein re Shapiro v. Wilgas.      .10   975.00      97.50
         KB      B190          Review Shapiro v. Wilgas and email correspondence with        .40   975.00     390.00
                               Glasser, Bennett, and Burrus re same and application to
                               motion to dismiss.
         KB      B190          Email correspondence and conference with Glasser and          .30   975.00     292.50
                               Bennett re opening statement.
         KB      B190          Review Arnold & Itkan brief regarding use of Shapiro v.       .20   975.00     195.00
                               Wilgas.
         KB      B190          Review draft opening statement on motion to dismiss.          .50   975.00     487.50
         KB      B190          Review email correspondence with Glasser and Shapiro          .20   975.00     195.00
                               re trial preparation.
         KB      B190          Confer with Glasser and Selby re arguments in opening         .20   975.00     195.00
                               and coordination with Cooley and Committee.
         CLJ     B190          Prepare opening arguments with B. Glasser.                    .50   750.00     375.00
         CLJ     B190          Draft request for judicial notice.                           2.70   750.00   2,025.00
         CLJ     B190          Conference with co counsel, re: opening arguments.            .40   750.00     300.00
         CLJ     B190          Review client emails on confidentiality and privilege.        .70   750.00     525.00
         CLJ     B190          Update order of proof.                                        .90   750.00     675.00
         CLJ     B190          Review past testimony of M. Diaz and prepare for expert      1.40   750.00   1,050.00
                               meeting.
         CLJ     B190          Review demonstratives for trial.                             1.40   750.00   1,050.00
         TBB     B190          Review of A & I reply brief regarding issues related to       .30   975.00     292.50
                               Texas divisive merger.
         TBB     B190          Review and analysis of reply brief by Committee I.            .60   975.00     585.00
         TBB     B190          Drafting memo and email regarding comments on legal           .30   975.00     292.50
                               issues asserted during hearing on admission of amici
                               briefs.
         MBB     B190          Review comments from J. Block on confidentiality              .10   750.00      75.00
                               designations.
         MBB     B190          Confer with K. Barrett, T. Bennett and B. Glasser re:         .10   750.00      75.00
                               Texas two-step.
         MBB     B190          Confer with K. Charonko re: extension of MIL deadline.        .10   750.00      75.00
         MBB     B190          Review correspondence with TCC II counsel re: opening         .10   750.00      75.00
                               statements.

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Meso Committee                                                                                          March 2, 2022
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  Date    Init   Task   Actv   Description of Service                                       Hours     Rate   Amount
          ECM    B190          Revise declaration of Kristie Doyle.                           .90   550.00    495.00
          ECM    B190          Assist Glasser with review of documents in preparation         .80   550.00    440.00
                               for Lisman deposition.
          ECM    B190          Update exhibit list with verdict sheets.                      1.40   550.00     770.00
          NLB    B190          Document review re: new documents and redacted                3.40   550.00   1,870.00
                               entries on productions by Jones Day.
          RRB    B190          Review and respond to emails re debtor's clawbacks of         1.00   850.00     850.00
                               certain documents and issues re additional documents
                               produced.
          JGT    B190          Brief review of the recently produced Lisman                   .50   850.00     425.00
                               documents.
          JGT    B190          Continue to work on issues relating to requesting judicial     .30   850.00     255.00
                               notice (includes telephone conference with Cary).
          JGT    B190          Review Doyle related depositions.                             1.50   850.00   1,275.00
          JGT    B190          Review draft outline of opening.                               .20   850.00     170.00
          DTM    B190          Review of Shapiro v. Wilgas and recent filing in Bestwall     1.20   750.00     900.00
                               in prep for arguments in MTD
          CTN    B190          Chronologize supporting docs for timeline.                    1.30   550.00     715.00
          CTN    B190          Time order supporting docs for chronology.                    1.20   550.00     660.00
2/06/22   BAG    B190          Prepare Diaz for his deposition.                              2.70   975.00   2,632.50
          BAG    B190          Review hot documents for possible use in Lisman               5.30   975.00   5,167.50
                               deposition.
          BAG    B190          Working on questions for Lisman.                              1.10   975.00   1,072.50
          KEC    B190          Analysis and work on Motion to Dismiss hearing                1.30   750.00     975.00
                               preparation for exhibits, discovery materials, and
                               strategy.
          KEC    B190          Communication with Committee Counsel regarding                 .90   750.00     675.00
                               Motion to Dismiss hearing preparation, strategy, and
                               upcoming disclosure deadlines.
          KEC    B190          Analysis of Motion to Dismiss Order of Proof redlines          .60   750.00     450.00
                               from Committee Counsel.
          DLS    B190          Assist with Lisman Deposition Preparation: Review             1.50   750.00   1,125.00
                               Documents.
          DLS    B190          Review Information Re Debtor Claw Back LTL 0030239.            .20   750.00     150.00
                               Review to Confirm Exhibits for Lisman.
          KB     B190          Confer with Bell and Turner re status and preparation          .20   975.00     195.00
                               for trial on motion to dismiss.
          KB     B190          Review dismissal pleadings and prepare outline of             3.30   975.00   3,217.50
                               arguments re same.
          KB     B190          Confer with Selby and Matthews re dismissal arguments          .50   975.00     487.50
                               and process.

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  Date   Init    Task   Actv   Description of Service                                     Hours     Rate   Amount
         CLJ     B190          Prepare M. Diaz for deposition.                             3.20   750.00   2,400.00
         CLJ     B190          Prepare request for judicial notice.                        2.50   750.00   1,875.00
         CLJ     B190          Coordinate with co counsel on discovery.                    1.70   750.00   1,275.00
         CLJ     B190          Conference with clients, re: Lisman deposition.             1.00   750.00     750.00
         MBB     B190          Confer with FTI re: Texas two-step.                          .10   750.00      75.00
         MBB     B190          Review notice of withdrawal of TRO motion.                   .10   750.00      75.00
         MBB     B190          Review correspondence with committee and debtor's            .10   750.00      75.00
                               counsel re: schedule for pre-trial disclosures and trial
                               schedule.
         ECM     B190          Assist Brian Glasser and trial team with exhibit            2.80   550.00   1,540.00
                               organization tasks in preparation for Lisman depositions
                               and motion to dismiss hearing.
         RRB     B190          Review and select Ryan testimony and exhibits for use at    2.80   850.00   2,380.00
                               trial.
         RRB     B190          Review of additional documents produced by debtor.          1.20   850.00   1,020.00
         RRB     B190          Review of documents and issues to assist in Lisman          2.40   850.00   2,040.00
                               deposition.
         RRB     B190          Confer with Turner and worked on issues re accounting        .60   850.00     510.00
                               standards relating to reserves and accounting for
                               judgments.
         RRB     B190          Email exchanges with Cooley firm re Ryan designations.       .20   850.00     170.00
         JGT     B190          Review Ryan deposition designations and revise same.         .90   850.00     765.00
         JGT     B190          Finish reviewing the Doyle deposition transcripts.          2.00   850.00   1,700.00
         JGT     B190          Telephone conference with Bell and consultant                .50   850.00     425.00
                               regarding accounting issues for the Lisman deposition.
         JGT     B190          Continue working on Request for Judicial Notice.            1.30   850.00   1,105.00
         JGT     B190          Continue working on accounting related questions for         .50   850.00     425.00
                               upcoming Lisman deposition.
         JGT     B190          Zoom conference with team regarding the MTD                 1.20   850.00   1,020.00
                               response.
         JGT     B190          Gather research that has already been done and forward       .10   850.00      85.00
                               same to Elliott.
         DTM     B190          Search for and review accounting practices in prep for       .40   750.00     300.00
                               lisman depo.
         DTM     B190          Communication with BAG, JB, CJ and DS re: prep for          1.20   750.00     900.00
                               Lisman depo.
         DTM     B190          Communicate with KB and DS re: MTD arguments.                .50   750.00     375.00
         DTM     B190          Zoom with MTD team to discuss arguments.                    1.20   750.00     900.00
         CTN     B190          Mark Jury Verdicts as exhibits 250-268, update exhibit       .70   550.00     385.00
                               list.


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  Date    Init   Task   Actv   Description of Service                                        Hours     Rate   Amount
          CTN    B190          Create exhibits 270-283 for Request for Judicial Notice,        .50   550.00    275.00
                               add to exhibit list.
          CTN    B190          Finalize all exhibits for Request for Judicial Notice (249-     .30   550.00     165.00
                               283), share with co-counsel.
2/07/22   BAG    B190          Work on opening statement as well as associated slide          4.20   975.00   4,095.00
                               deck.
          BAG    B190          Finish preparation for deposition of Adam Lisman.              3.50   975.00   3,412.50
          KEC    B190          Strategy session with Committee Counsel regarding              1.00   750.00     750.00
                               Motion to Dismiss exhibit lists and deposition
                               designations.
          KEC    B190          Communication with Committee Counsel and                        .70   750.00     525.00
                               Representatives regarding discovery challenges from
                               Debtor.
          KEC    B190          Working call with Committee I and Committee II counsel          .70   750.00     525.00
                               regarding exhibit list disclosures.
          KEC    B190          Analysis and revisions to Exhibit List in anticipation of      1.70   750.00   1,275.00
                               disclosure for Motion to Dismiss hearing.
          KEC    B190          Communication with Committee Counsel regarding                  .90   750.00     675.00
                               exhibit list, deposition designations, and submissions for
                               Motion to Dismiss hearing deadlines.
          KEC    B190          Analysis of deposition designations for submission              .80   750.00     600.00
                               related to Motion to Dismiss due this week.
          KEC    B190          Working call regarding Experts for Motion to Dismiss            .70   750.00     525.00
                               hearing.
          KEC    B190          Analysis and working with subpoena production from             1.20   750.00     900.00
                               S&P Global.
          KEC    B190          Communication with Committee Counsel regarding S&P              .30   750.00     225.00
                               Global subpoena production.
          DLS    B190          Communications from Debtor Re Clawback Documents.               .30   750.00     225.00
                               Review Laptop and my hard copy files for referenced
                               Clawback Documents, destroy.
          DLS    B190          Review Documents and Assist with Preparation/Outline           2.50   750.00   1,875.00
                               for Adam Lisman Deposition.
          KB     B190          Review updated critical dates memo.                             .10   975.00      97.50
          KB     B190          Review email correspondence between Jonas and Brown             .10   975.00      97.50
                               re trial-related matters.
          KB     B190          Review Shapiro decision relative to motion to dismiss,         1.30   975.00   1,267.50
                               outline items, email correspondence with Abramowitz re
                               same, and consider response to Klein email.
          KB     B190          Confer with A Abramowitz re Shapiro and opening                 .20   975.00     195.00
                               statements on motion to dismiss.


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  Date   Init    Task   Actv   Description of Service                                       Hours     Rate   Amount
         KB      B190          Email correspondence with Massey and Speckhart re              .10   975.00     97.50
                               524(g) issues.
         KB      B190          Email correspondence re Texas two-step senate hearing.         .10   975.00      97.50
         KB      B190          Confer with Glasser re Cooley meeting, opening, and            .20   975.00     195.00
                               Shapiro.
         CLJ     B190          Prepare for deposition of A. Lisman.                          3.50   750.00   2,625.00
         CLJ     B190          Conference with counsel, re: order of proof.                  1.10   750.00     825.00
         CLJ     B190          Conference with co-counsel, re: deposition designations        .70   750.00     525.00
                               and exhibit list.
         CLJ     B190          Follow up on discovery issues.                                 .70   750.00     525.00
         TBB     B190          Reviewing and responding to discovery issues raised by         .20   975.00     195.00
                               counsel.
         MBB     B190          Review Debtor's motion in limine to limit the testimony        .10   750.00      75.00
                               of Burian and Diaz.
         MBB     B190          Review Debtor's response to Committee I's letter to the        .10   750.00      75.00
                               court regarding Debtor's allegations that committee
                               counsel was disseminating confidential information to
                               the press.
         MBB     B190          Confer with BG team re: Debtor's clawback of certain           .10   750.00      75.00
                               documents produced in discovery.
         MBB     B190          Confer with BG team re: appointment with Court to set-         .10   750.00      75.00
                               up technology for trial.
         MBB     B190          Review J. Massey comments / research re: 524(g)                .20   750.00     150.00
                               channeling injunction.
         MBB     B190          Review comments from J. Block on Debtor's letter to the        .10   750.00      75.00
                               court withdrawing TRO.
         MBB     B190          Review Reuters' response to Debtor's letter to the court       .10   750.00      75.00
                               re: withdrawal of TRO request.
         JEK     B190          Review docket and retrieval of recently field documents        .80   325.00     260.00
                               and correspondence.
         JEK     B190          Update case calendar regarding rescheduled hearing             .10   325.00      32.50
                               dates.
         JEK     B190          Prepare in person appearance forms for D. Selby, J.            .30   325.00      97.50
                               Turner, C. Joshi, T. Mathews, B. Glasser, T. Bennett, R.
                               Bell, K. Charonko and R. Katz and e-mail to Court.
         JEK     B190          E-mails to and from C. Joshi regarding witness files.          .10   325.00      32.50
         JEK     B190          E-mails to and from K. Charonko regarding zoom                 .20   325.00      65.00
                               information for depositions of M. Diaz and G. Bell.
         ECM     B190          Assist trial team with review and organization of exhibits    1.10   550.00     605.00
                               and other preparation for trial.



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  Date    Init   Task   Actv   Description of Service                                       Hours     Rate   Amount
          RRB    B190          Review and select deposition testimony and deposition         3.30   850.00   2,805.00
                               exhibits for use at trial.
          RRB    B190          T/c with FTI re expert deposition preparation.                 .80   850.00     680.00
          RRB    B190          Assist in Lisman deposition preparation..                     2.70   850.00   2,295.00
          RRB    B190          Review and revise slides for use at trial; email exchanges    2.00   850.00   1,700.00
                               with trial graphics team re same.
          RRB    B190          Worked on judicial notice request to the court.               1.00   850.00     850.00
          RRB    B190          Review and respond to various emails re deposition             .50   850.00     425.00
                               designations.
          JGT    B190          Assist with Ryan deposition designations and exhibits.         .40   850.00     340.00
          JGT    B190          Continue to locate and review accounting standards for         .50   850.00     425.00
                               the upcoming Lisman deposition.
          JGT    B190          Conference with Leslie B. regarding background facts.          .80   850.00     680.00
          JGT    B190          Identify and review FASB Statements for Lisman                1.20   850.00   1,020.00
                               deposition.
          JGT    B190          Telephone conference with FTI and Matt Kuchar.                1.00   850.00     850.00
          JGT    B190          Work with Cary and Robert to finalize the Request for         1.00   850.00     850.00
                               Judicial Notice.
          JGT    B190          Brief review of the Mullin report in Imerys.                   .50   850.00     425.00
          JGT    B190          Review co-counsel's proposed deposition designations           .20   850.00     170.00
                               and draft e-mail to team regarding same.
          JGT    B190          Review co-counsel's proposed edits to the proof outline.       .30   850.00     255.00
          JGT    B190          Preparation for upcoming MTD hearing including                1.00   850.00     850.00
                               attention to logistical issues.
          DTM    B190          Review of Mullin report in prep for MTD.                      1.20   750.00     900.00
          DTM    B190          Attend calls to further interview FCR candidates.             1.10   750.00     825.00
          CTN    B190          Calls with Cary Joshi re Request for Judicial Notice           .30   550.00     165.00
2/08/22   BAG    B190          Final preparation for as well as take the deposition of       7.50   975.00   7,312.50
                               Adam Lisman.
          BAG    B190          Work on the opening.                                          1.50   975.00   1,462.50
          BAG    B190          Prepare Diaz for his deposition.                               .50   975.00     487.50
          BAG    B190          Read Standard and Poor s documents produced today.             .70   975.00     682.50
          KEC    B190          Attend deposition of Adam Lisman along with assisting         6.00   750.00   4,500.00
                               in preparation.
          KEC    B190          Assisting with Committee counsel with questions on             .70   750.00     525.00
                               Debtor's expert disclosures in preparation for upcoming
                               depositions.
          KEC    B190          Attend weekly Committee Counsel call.                          .50   750.00     375.00
          KEC    B190          Analysis and work regarding S&P Global subpoena               1.40   750.00   1,050.00
                               production documents for Motion to Dismiss.


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  Date   Init    Task   Actv   Description of Service                                     Hours     Rate   Amount
         KEC     B190          Communication and strategy work regarding depositions        .60   750.00    450.00
                               designations and exhibit list exchanges with TCC I and
                               TCC II.
         KEC     B190          Analysis of Senate Judiciary Committee hearing on Texas     1.30   750.00     975.00
                               Two-Step in relation Motion to Dismiss.
         DLS     B190          Zoom Meeting with Counsel for TCC 1 and TCC 2 Re             .40   750.00     300.00
                               Various Litigation and Trial Issues.
         DLS     B190          Zoom Meeting with Co-Counsel TCC II: Issues Related to       .50   750.00     375.00
                               MTD and Trial Preparation.
         KB      B190          Review articles and letters regarding Senate hearing on      .20   975.00     195.00
                               two-step.
         KB      B190          Review unredacted emails.                                    .10   975.00      97.50
         KB      B190          Confer with Burrus re motion to dismiss.                     .20   975.00     195.00
         KB      B190          Monitor Senate hearing on two-step.                         1.00   975.00     975.00
         KB      B190          Meeting of Meso Committee counsel on Motion to               .50   975.00     487.50
                               Dismiss.
         CLJ     B190          Attend deposition of A. Lisman.                             5.10   750.00   3,825.00
         CLJ     B190          Conferences with co counsel, re: exhibits list.              .90   750.00     675.00
         CLJ     B190          Conference with expert, re: deposition preparation.         1.50   750.00   1,125.00
         CLJ     B190          Review exhibit list for MTD hearing.                         .70   750.00     525.00
         CLJ     B190          Draft response to motion in limine.                          .50   750.00     375.00
         TBB     B190          Zoom meeting of counsel for both committees regarding        .40   975.00     390.00
                               various litigation related issues.
         TBB     B190          Zoom meeting of co-counsel for Committee II relating to      .50   975.00     487.50
                               issues regarding the motion to dismiss and related
                               matters.
         MBB     B190          Review J. Block's comments on exhibits for Lisman            .10   750.00      75.00
                               deposition.
         MBB     B190          Review unredacted emails from J&J.                           .20   750.00     150.00
         MBB     B190          Call with TCC I and II re: FCR and trial.                    .30   750.00     225.00
         MBB     B190          Meeting with professionals re: trial and other committee     .50   750.00     375.00
                               matters.
         MBB     B190          Confer with J. Delaney re: attendance at hearing via         .10   750.00      75.00
                               Zoom.
         MBB     B190          Confer with co-counsel re: deposition designations for       .10   750.00      75.00
                               trial.
         MBB     B190          Confer with K. Charonko re: confidentiality of S&P           .10   750.00      75.00
                               produced documents.
         JEK     B190          Review docket and retrieval of recently field documents      .80   325.00     260.00
                               and correspondence.


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  Date   Init    Task   Actv   Description of Service                                        Hours     Rate   Amount
         JEK     B190          Prepare witness documents for C. Joshi and B. Glasser.         1.20   325.00    390.00
         JEK     B190          Finalize for filing and e-file request for judicial notice.    1.30   325.00    422.50
         JEK     B190          E-mails to and from C. Joshi regarding request for              .30   325.00     97.50
                               judicial notice.
         ECM     B190          Review email traffic and highlights of latest production        .50   550.00     275.00
                               provided by K Charonko.
         ECM     B190          Draft response to motion in limine to exclude expert           3.40   550.00   1,870.00
                               report of Matthew Diaz.
         NLB     B190          Attendance at deposition of Adam Lisman.                       5.10   550.00   2,805.00
         NLB     B190          Review documents from SPG.                                      .30   550.00     165.00
         NLB     B190          Review order re: LTL's privileged designations.                 .10   550.00      55.00
         RRB     B190          Review and analysis of documents produced by S&P               7.10   850.00   6,035.00
                               Global in response to TCC II's subpoena for use at trial.
         RRB     B190          Cont'd to review and revise deposition designations and        1.40   850.00   1,190.00
                               trial exhibits.
         RRB     B190          Attend parts of Lisman deposition re talc reserves              .60   850.00     510.00
         RRB     B190          Worked on issues re response to motion in limine.               .30   850.00     255.00
         RRB     B190          Review of opening slides deck.                                  .30   850.00     255.00
         JGT     B190          Review recently filed pleadings.                                .70   850.00     595.00
         JGT     B190          Review draft Opening for MTD hearing.                           .30   850.00     255.00
         JGT     B190          Brief review of recently produced documents.                    .30   850.00     255.00
         JGT     B190          Review and analysis of the recently produced S & P             5.30   850.00   4,505.00
                               documents in order to identify new exhibits for
                               upcoming MTD hearing.
         JGT     B190          Attend portions of the Lisman deposition.                      1.50   850.00   1,275.00
         JGT     B190          Work on additional demonstrative relating to some of            .50   850.00     425.00
                               the recently produced un-redacted documents.
         JGT     B190          Review latest draft of the opening slide decks.                 .30   850.00     255.00
         JGT     B190          Begin reviewing examination outline for Weusthoff and           .50   850.00     425.00
                               compare to proof outline.
         NCW     B190          In-person meeting with Robert Bell regarding an                 .50   325.00     162.50
                               assignment for me to scan, arrange, and email two sets
                               of documents to him; Scanning the documents and
                               arranging them into two sets with Adobe Acrobat;
                               Emailing both sets of documents to Robert for his review
                               and then returning the physical copies to him.
         DTM     B190          Attend depo of Lisman in prep for MTD.                         5.10   750.00   3,825.00
         DTM     B190          Review of new production of documents from Debtor in           6.20   750.00   4,650.00
                               prep for MTD.
         CTN     B190          Finalize time-stamped chronology docs.                          .30   550.00     165.00


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Meso Committee                                                                                         March 2, 2022
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   Date   Init   Task   Actv   Description of Service                                      Hours     Rate   Amount
2/09/22   BAG    B190          Meeting with expert to prepare for deposition.               1.40   975.00   1,365.00
          BAG    B190          Call with committee representatives to answer                1.70   975.00   1,657.50
                               questions respecting the motion to dismiss trial.
          BAG    B190          Work on opening and slides.                                  3.30   975.00   3,217.50
          KEC    B190          Conference calls and strategy communication with              .90   750.00     675.00
                               members of TCC I and TCC II Committee Counsel
                               regarding exhibit list exchange and finalization.
          KEC    B190          Analysis and revision of draft exhibit list for Motion to    1.30   750.00     975.00
                               Dismiss exchange with Debtor's counsel.
          KEC    B190          Attend portions of deposition of Expert Saul Burian.         4.90   750.00   3,675.00
          KEC    B190          Participation in Motion to Dismiss working call regarding    1.50   750.00   1,125.00
                               experts.
          KB     B190          Review Mallinkrodt decision re plan and releases.            1.00   975.00     975.00
          KB     B190          Review request for judicial notice.                           .10   975.00      97.50
          KB     B190          Email correspondence with Glasser and BG and Cooley           .10   975.00      97.50
                               teams re opening statement.
          KB     B190          Confer with J Turner re designations and trial                .40   975.00     390.00
                               preparations.
          KB     B190          Confer with Glasser re opening and trial preparation,         .30   975.00     292.50
                               including conference with C Speckhart re same.
          KB     B190          Meeting of committee representatives and counsel.            1.70   975.00   1,657.50
          KB     B190          Review Senate testimony on two step and email                1.70   975.00   1,657.50
                               correspondence with BG team re same.
          KB     B190          Email correspondence with Glasser re Canadian class           .10   975.00      97.50
                               action objection.
          CLJ    B190          Coordinate deposition designations and exhibit lists.        1.30   750.00     975.00
          CLJ    B190          Attend deposition of A. Lisman.                              4.00   750.00   3,000.00
          CLJ    B190          Conference with co-counsel, re: designations and              .80   750.00     600.00
                               exhibits.
          CLJ    B190          Review and assign deposition summaries.                       .40   750.00     300.00
          CLJ    B190          Draft response to Debtor motions in limine.                  1.10   750.00     825.00
          CLJ    B190          Attend motion in limine hearing.                              .90   750.00     675.00
          TBB    B190          Zoom meeting with Committee II representatives               1.70   975.00   1,657.50
                               regarding litigation matters.
          MBB    B190          Review comments from J. Dean on senate hearings.              .10   750.00      75.00
          MBB    B190          Meeting with committee representatives re: trial             1.70   750.00   1,275.00
                               overview.
          JEK    B190          Prepare witness documents for C. Joshi and B. Glasser.        .90   325.00     292.50
          JEK    B190          Review docket and retrieval of recently field documents      1.60   325.00     520.00
                               and correspondence.


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  Date   Init    Task   Actv   Description of Service                                         Hours     Rate   Amount
         JEK     B190          E-mail to B. Glasser regarding zoom information for              .10   325.00     32.50
                               deposition of S. Burian.
         JEK     B190          Finalize for filing and e-file Motion to Dismiss and Brief      1.60   325.00     520.00
                               in Support.
         JEK     B190          E-mails to and from C. Joshi regarding response to               .20   325.00      65.00
                               motion in limine.
         JEK     B190          Finalize for filing and e-file response to motion in limine.     .40   325.00     130.00
         ECM     B190          Update exhibit list.                                             .80   550.00     440.00
         NLB     B190          Review Canadian Claimants' opposition to motion to               .60   550.00     330.00
                               dismiss.
         NLB     B190          Zoom conference with Professionals re: upcoming                 1.70   550.00     935.00
                               motion to dismiss hearing.
         RRB     B190          Attend parts of Burian deposition relating to financial         1.00   850.00     850.00
                               distress of debtor and J&J
         RRB     B190          T/c with Meso committee representatives re trial prep.          1.60   850.00   1,360.00
         RRB     B190          Assist Glasser in preparation of opening and opening            1.50   850.00   1,275.00
                               slides.
         RRB     B190          Review and respond to emails re order of proof, opening          .90   850.00     765.00
                               and trial strategy.
         RRB     B190          Review and select documents from S&P production for             2.70   850.00   2,295.00
                               trial exhibits; emails and t/c's re same
         JGT     B190          Continue comparing Weusthoff examination outline to             1.00   850.00     850.00
                               the proof outline
         JGT     B190          Participate in deposition preparation call with FTI.            1.00   850.00     850.00
         JGT     B190          Review and edit proposed response to the MIL letter              .20   850.00     170.00
                               submitted by Debtor.
         JGT     B190          Telephone call with Kevin B. regarding status.                   .40   850.00     340.00
         JGT     B190          Selection of additional exhibits to add to the exhibit list      .80   850.00     680.00
                               (S&P documents).
         JGT     B190          Review latest drafts of opening, opening slide deck and          .50   850.00     425.00
                               proof outline.
         JGT     B190          Attend portions of the Burian deposition.                       4.00   850.00   3,400.00
         NCW     B190          Receiving and reviewing email and in-person meeting             1.80   325.00     585.00
                               with Cary regarding my task to prepare several binders
                               of exhibits, then printing the necessary exhibits and
                               arranging the exhibits in three binders accordingly,
                               delivering all three binders to the large conference room
                               in the DC office.
         CTN     B190          Finalize sorting supporting documents in order of               1.20   550.00     660.00
                               chronology.



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   Date   Init   Task   Actv   Description of Service                                     Hours     Rate   Amount
2/10/22   BAG    B190          Defending deposition of Matt Diaz along with follow up      8.50   975.00   8,287.50
                               calls with him after deposition.
          BAG    B190          Edits to opening as well as associated slides.              1.10   975.00   1,072.50
          BAG    B190          Work through exhibit issues with Cary.                       .50   975.00     487.50
          KEC    B190          Communication with Committee counsel and                     .80   750.00     600.00
                               representatives regarding Motion to Dismiss discovery,
                               exhibit list exchange, deposition preparation, and
                               Discovery hearing,
          KEC    B190          Attend hearing regarding discovery issues, PI response       .80   750.00     600.00
                               and trial logistics.
          KEC    B190          Participate in portions of the deposition of Matt Diaz.     5.20   750.00   3,900.00
          KEC    B190          Strategy meeting with TCC I and TCC II regarding trial       .70   750.00     525.00
                               logistics and exhibit lists.
          KEC    B190          Continued work on exhibit list potential objections,        1.90   750.00   1,425.00
                               classification of overlapping between Debtor and
                               Claimants, and analysis of lists.
          KEC    B190          Communication with Committee Representatives                 .50   750.00     375.00
                               regarding SPGI documents.
          KEC    B190          Call with Motion to Dismiss team regarding expert            .50   750.00     375.00
                               depositions.
          KEC    B190          Strategy communication with TCC I and TCC II regarding       .90   750.00     675.00
                               trial logistics and exhibit lists.
          KB     B190          Review and revise TCC I draft response to Canadian class     .60   975.00     585.00
                               action filing, conferences with M Burrus re same, and
                               email correspondence with C Speckhart re same.
          KB     B190          Attend hearing on motions in limine, filing of surreply,     .80   975.00     780.00
                               and conduct of hearing.
          KB     B190          Review Debtor's surreply on motion to dismiss and email     1.10   975.00   1,072.50
                               correspondence with Glasser re same.
          KB     B190          Confer with team re Diaz and Castellano depositions.         .30   975.00     292.50
          CLJ    B190          Prepare for motion in limine hearing.                        .70   750.00     525.00
          CLJ    B190          Conference with co-counsel, re: exhibits and discovery       .90   750.00     675.00
                               for trial.
          CLJ    B190          Review exhibit lists for objections.                         .90   750.00     675.00
          CLJ    B190          Review dep designation objections.                          1.10   750.00     825.00
          CLJ    B190          Review MTD sur reply.                                        .60   750.00     450.00
          CLJ    B190          Coordinate documents for hearing.                            .70   750.00     525.00
          TBB    B190          Attending portions of deposition of Matt Diaz.              2.30   975.00   2,242.50
          TBB    B190          Attending court hearing on motions in limine, trial          .80   975.00     780.00
                               related matters, and S&P depositions.



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  Date   Init    Task   Actv   Description of Service                                        Hours     Rate   Amount
         TBB     B190          Review and analysis of sur-reply brief of debtor to             .80   975.00    780.00
                               motion to dismiss.
         MBB     B190          Review J. Massey comments on Debtor's sur-reply to the          .30   750.00     225.00
                               motion to dismiss.
         MBB     B190          Review R. Capone comments on Debtor's sur-reply to              .10   750.00      75.00
                               motion to dismiss.
         MBB     B190          Confer with K. Barrett re: reply to Canadian class              .10   750.00      75.00
                               plaintiffs' opposition to motion to dismiss and draft joint
                               committee reply.
         MBB     B190          Review Canadian class action plaintiffs' response to            .30   750.00     225.00
                               motion to dismiss and draft joint reply of committees.
         MBB     B190          Attend hearing on motions in limine.                            .80   750.00     600.00
         ECM     B190          Update exhibit list with exhibits from Lisman deposition.       .70   550.00     385.00
         NLB     B190          Review Debtor's Sur-Reply to Motions to Dismiss.                .40   550.00     220.00
         NLB     B190          Review Debtor's Objections to TCC II's and A&I's Motions        .20   550.00     110.00
                               to Exclude Expert Reports.
         NLB     B190          Receipt and review of e-mail from J. Block re: Plato            .40   550.00     220.00
                               Timeline and accompanying documents.
         NLB     B190          Hearing on Motion in Limine before Judge Kaplan.                .80   550.00     440.00
         NLB     B190          Adam Lisman deposition summary preparation.                    6.10   550.00   3,355.00
         RRB     B190          Assist Glasser in preparation for Diaz deposition.             1.00   850.00     850.00
         RRB     B190          Attend parts of Castellano deposition.                          .70   850.00     595.00
         RRB     B190          Attend court hearing on trial issues and logistics.             .80   850.00     680.00
         RRB     B190          Review and respond to emails re trial issues and                .60   850.00     510.00
                               logistics.
         RRB     B190          Review of Mullin deposition and email exchanges re              .90   850.00     765.00
                               areas of inquiry.
         RRB     B190          Review of Canadians class actions plaintiffs brief and          .40   850.00     340.00
                               draft response by TCC II.
         RRB     B190          Review of Mullin report in Imerys bankruptcy.                   .60   850.00     510.00
         RRB     B190          Attend portions of deposition of TCC II expert Matthew         4.80   850.00   4,080.00
                               Diaz.
         RRB     B190          Worked on counter deposition designations.                      .60   850.00     510.00
         RRB     B190          Review of debtor's exhibit list and additional documents        .50   850.00     425.00
                               produced.
         JGT     B190          Review Debtor's Sur-Reply.                                      .50   850.00     425.00
         JGT     B190          Attend portions of the Matt Diaz deposition.                   1.50   850.00   1,275.00
         JGT     B190          Attend portions of the Castellano deposition.                   .50   850.00     425.00
         JGT     B190          Review the Canadian Class Action Response to the MTD            .50   850.00     425.00
                               and proposed response to same.


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  Date    Init   Task   Actv   Description of Service                                     Hours     Rate   Amount
          JGT    B190          Attend hearing on MILs and trial logistics.                  .80   850.00     680.00
          DTM    B190          Attend deposition of Creditors' Expert Diaz in prep for     6.80   750.00   5,100.00
                               MTD and assisting in deposition preparation.
2/11/22   BAG    B190          Prepare exam of Mongon.                                     3.70   975.00   3,607.50
          BAG    B190          Edits to opening as well as associated slides.              2.60   975.00   2,535.00
          BAG    B190          Email to committee on opening.                               .50   975.00     487.50
          BAG    B190          Review new SP documents as well as listen to key part of    2.10   975.00   2,047.50
                               Kaplan exam on same.
          KEC    B190          Attend deposition of David Kaplan at S&P Global.            5.10   750.00   3,825.00
          KEC    B190          Analysis of draft exhibit objections and communications     1.70   750.00   1,275.00
                               to Debtor's regarding exhibit list exchange, deposition
                               designations and trial logistics.
          KEC    B190          Continued work on trial preparation materials and            .90   750.00     675.00
                               organizational materials for Motion to Dismiss trial.
          KEC    B190          Communication with Debtor's counsel on trial                 .40   750.00     300.00
                               stipulation and exhibit lists.
          KEC    B190          Communication and analysis of drafting Motion to             .80   750.00     600.00
                               Dismiss materials.
          KB     B190          Review of argument and testimony outlines and related       2.70   975.00   2,632.50
                               materials, including testimony of participants in Senate
                               hearing.
          KB     B190          Confer with J Turner re depositions and trial                .40   975.00     390.00
                               preparation.
          CLJ    B190          Attend portions of deposition of Kaplan.                    3.00   750.00   2,250.00
          CLJ    B190          Prepare trial exhibit list.                                 1.30   750.00     975.00
          CLJ    B190          Conference with N. Flath, re: exhibits.                      .50   750.00     375.00
          CLJ    B190          Conference with M. Rasmussen, re: meet and confer.           .50   750.00     375.00
          CLJ    B190          Prepare letter to court, re: judicial review.               1.20   750.00     900.00
          TBB    B190          Reviewing outlines for witness examination and opening      1.30   975.00   1,267.50
                               statements, comments of other counsel regarding same,
                               and drafting response regarding assertions by other
                               counsel regarding portions of opening statements.
          MBB    B190          Prepare daily update to committee.                           .10   750.00      75.00
          MBB    B190          Confer with J. Kittinger re: court solutions account for     .10   750.00      75.00
                               motion to dismiss hearing.
          MBB    B190          Review Canadian Plaintiffs' "clarification" to their         .20   750.00     150.00
                               response to the motions to dismiss.
          MBB    B190          Attend deposition of Arthur Wong.                            .70   750.00     525.00
          MBB    B190          Review J. Ledwidge comments on Canadian Plaintiffs'          .10   750.00      75.00
                               clarification motion re the motions to dismiss.


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  Date    Init   Task   Actv   Description of Service                                      Hours     Rate   Amount
          NLB    B190          Receipt and review of J. Block e-mail re: SPG.                .10   550.00      55.00
          NLB    B190          Review e-mail correspondence re: expert Charles Mullin.       .20   550.00     110.00
          RRB    B190          Attend portions of S&P depos of Kaplan and Wong.             4.00   850.00   3,400.00
          RRB    B190          Review of debtor exhibits list re objections to exhibits;    1.60   850.00   1,360.00
                               t/c's and email exchanges with counsel and internally re
                               same.
          RRB    B190          Review and analysis of S&P documents for use at trial.       2.00   850.00   1,700.00
          RRB    B190          Assist in preparation of opening slide deck and review of    1.40   850.00   1,190.00
                               opening argument.
          JGT    B190          Attend portions of the S & P depositions.                    4.00   850.00   3,400.00
          JGT    B190          Work on issues relating to objecting to exhibits.            1.30   850.00   1,105.00
          JGT    B190          Review latest draft of opening statement and consider         .70   850.00     595.00
                               additional demonstrative exhibits to be used in
                               connection with same.
          JGT    B190          Telephone conference with Kevin Barrett regarding             .40   850.00     340.00
                               status.
          JGT    B190          Review Mongon outline.                                        .20   850.00     170.00
          JGT    B190          Review and analysis of the Aldrich and DBMP opinions to       .80   850.00     680.00
                               identify material for possible use at the upcoming MTD
                               hearing.
          JGT    B190          Identify and review case law and briefing regarding           .50   850.00     425.00
                               Divisive merger and provide same to team.
          JGT    B190          Review series of orders entered by the Court and              .30   850.00     255.00
                               exchange e-mails regarding same.
          DTM    B190          Attend deposition of Debtor's expert Mullins.                3.00   750.00   2,250.00
2/12/22   BAG    B190          Work on opening.                                             2.20   975.00   2,145.00
          BAG    B190          Call with Jonas and Morris on witness time.                   .50   975.00     487.50
          BAG    B190          Call with UST on hearing.                                     .40   975.00     390.00
          BAG    B190          Work on Lisman examination.                                  7.70   975.00   7,507.50
          KEC    B190          Continued communications and work relating to                4.10   750.00   3,075.00
                               preparation on Motion to Dismiss trial.
          KB     B190          Email correspondence with B. Glasser re Klein email and       .90   975.00     877.50
                               response.
          KB     B190          Email correspondence with committee reps, Klein and           .10   975.00      97.50
                               Glasser re opening on motion to dismiss.
          KB     B190          Confer with D. Clancy re divisive merger arguments.           .70   975.00     682.50
          KB     B190          Review and forward materials to D. Clancy re divisive         .50   975.00     487.50
                               merger arguments.
          KB     B190          Review and revise opening, including conference with          .30   975.00     292.50
                               Glasser re same.


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  Date    Init   Task   Actv   Description of Service                                     Hours     Rate   Amount
          KB     B190          Outline arguments re divisive merger.                       1.00   975.00     975.00
          CLJ    B190          Research judicial notice.                                    .70   750.00     525.00
          CLJ    B190          Conference with co-counsel, re: trial prep.                  .40   750.00     300.00
          CLJ    B190          Conference with UST, re: trial logistics.                    .40   750.00     300.00
          CLJ    B190          Prepare video designations.                                  .90   750.00     675.00
          CLJ    B190          Prepare exhibit objections.                                 2.10   750.00   1,575.00
          CLJ    B190          Conference with co-counsel, re: discovery issues for         .70   750.00     525.00
                               hearing.
          CLJ    B190          Review recent document production.                          1.10   750.00     825.00
          CLJ    B190          Conference with opposing counsel, re: hearing prep.          .30   750.00     225.00
          TBB    B190          Review of case law regarding opening statement issues       1.20   975.00   1,170.00
                               to be presented and preparation for conference call with
                               certain committee members' counsel.
          TBB    B190          Review and analysis of revised opening statements and        .80   975.00     780.00
                               suggesting modifications.
          RRB    B190          Review of JJCI financial documents in preparation for       1.60   850.00   1,360.00
                               trial.
          RRB    B190          Review of Kaplan testimony and exhibits re talc              .90   850.00     765.00
                               liabilities.
          RRB    B190          Review of documents and assist Glasser in preparation       1.30   850.00   1,105.00
                               for opening argument.
          RRB    B190          Review of Diaz deposition and report and Diaz               5.40   850.00   4,590.00
                               deposition exhibits to assist Glasser in preparation for
                               Diaz examination.
          RRB    B190          Review of S&P documents and email exchange with Ian          .30   850.00     255.00
                               Shapiro re trial exhibit list.
          JGT    B190          Conference with team regarding issues relating to            .30   850.00     255.00
                               judicial notice.
          JGT    B190          Review testimony in other actions in order to identify      1.30   850.00   1,105.00
                               portions for possible use in MTD hearing.
          JGT    B190          Attention to issues relating to the opening and             1.20   850.00   1,020.00
                               conferences with team members regarding same.
          JGT    B190          Review expert depositions in order to assist with the       4.50   850.00   3,825.00
                               preparation of FTI.
2/13/22   BAG    B190          Work on Lisman examination.                                 3.50   975.00   3,412.50
          BAG    B190          Meeting with co-counsel as well as co-movants counsel       3.90   975.00   3,802.50
                               to coordinate for trial.
          KEC    B190          Participate in strategy meeting with Committee Counsel      2.30   750.00   1,725.00
                               and Committee Members.
          KEC    B190          Continued communications and work relating to               1.30   750.00     975.00
                               preparation on Motion to Dismiss trial.

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  Date   Init    Task   Actv   Description of Service                                         Hours     Rate   Amount
         DLS     B190          Meeting with Committee Counsel to Prepare and                   3.90   750.00   2,925.00
                               Coordinate for MTD Trial.
         DLS     B190          Assist with Preparation for Opening Argument. Work              4.50   750.00   3,375.00
                               with Rich Katz on Demonstrative Exhibits.
         DLS     B190          Assist with Preparation for Opening Argument. Work              1.20   750.00     900.00
                               with Rich Katz on Demonstrative Exhibits.
         KB      B190          Review revised opening and examination outlines and             1.50   975.00   1,462.50
                               draft openings of other parties.
         KB      B190          Confer with J Turner re confidentiality issues.                  .10   975.00      97.50
         KB      B190          Attend trial preparation session.                               2.30   975.00   2,242.50
         CLJ     B190          Prepare correspondence with court, re: judicial notice.         1.90   750.00   1,425.00
         CLJ     B190          Conference with debtor, re: judicial notice.                     .70   750.00     525.00
         CLJ     B190          Prepare opening.                                                 .90   750.00     675.00
         CLJ     B190          Negotiate confidentiality with debtor and co counsel.           1.70   750.00   1,275.00
         CLJ     B190          Conference with co-counsel, re: outstanding discovery            .60   750.00     450.00
                               disputes.
         CLJ     B190          Conference with all committee counsel, re: trial                1.10   750.00     825.00
                               preparation.
         CLJ     B190          Prepare for witness examinations.                                .90   750.00     675.00
         CLJ     B190          Meet and confer with debtor, re: admissibility of                .30   750.00     225.00
                               exhibits.
         TBB     B190          Reviewing opening day trial materials including opening         1.80   975.00   1,755.00
                               statements and witness questioning outlines in
                               preparation for zoom meeting with counsel for first day
                               of trial preparations.
         TBB     B190          Zoom meeting with counsel for trial preparation.                2.30   975.00   2,242.50
         TBB     B190          Review of SEC filings by J & J re: use of estimates of          1.20   975.00   1,170.00
                               assets and liabilities.
         MBB     B190          Attend trial preparation meeting.                               2.30   750.00   1,725.00
         JEK     B190          E-mails to and from C. Joshi regarding filing of letter to       .20   325.00      65.00
                               the Court regarding request for judicial notice.
         JEK     B190          Finalize for filing and e-file letter to the Court regarding     .40   325.00     130.00
                               request for judicial notice.
         ECM     B190          Draft summary of Matt Diaz deposition.                          4.30   550.00   2,365.00
         RRB     B190          Worked on cross exam topics for experts.                        3.40   850.00   2,890.00
         RRB     B190          Review and select deposition testimony for designations.        1.80   850.00   1,530.00
         RRB     B190          Review of opening statements from co-movants.                   1.30   850.00   1,105.00
         RRB     B190          Assist in trial preparation, including issues re trial          3.70   850.00   3,145.00
                               strategy, exhibits, judicial notice and review and revision
                               of opening slides and critiques of opening statement.


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Meso Committee                                                                                         March 2, 2022
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  Date    Init   Task   Actv   Description of Service                                      Hours     Rate   Amount
          JGT    B190          Review opening statements from other movants.                 .30   850.00     255.00
          JGT    B190          Attend meeting (by Zoom) of all counsel to discuss           2.30   850.00   1,955.00
                               openings and other trial issues.
          JGT    B190          Work on issues relating to Judicial Notice.                   .50   850.00     425.00
          JGT    B190          Assist in identifying additional evidence for the Lisman      .90   850.00     765.00
                               examination and review existing draft of the Lisman
                               outline.
          JGT    B190          Legal research on the judicial notice issue.                  .80   850.00     680.00
          JGT    B190          Work on opening statement with team.                         1.50   850.00   1,275.00
          JGT    B190          Legal research regarding confidentiality issues raised by     .70   850.00     595.00
                               Debtor.
          JGT    B190          Continue working with team to finalize the opening           1.00   850.00     850.00
                               statement.
          DTM    B190          Preparation for Motion to Dismiss opening                    3.20   750.00   2,400.00
          DTM    B190          Meeting with committee and co-counsel in prep for MTD        2.30   750.00   1,725.00
                               opening.
2/14/22   BAG    B190          Attend trial on Day One.                                    10.20   975.00   9,945.00
          BAG    B190          Meet with co-movants counsel to prepare for Day Two          1.90   975.00   1,852.50
          BAG    B190          Prepare final examinations for Mongon and Lisman.            4.10   975.00   3,997.50
          PMK    B190          Attending portion of trial via Zoom.                         1.00   750.00     750.00
          KEC    B190          Attend Motion to Dismiss trial Day 1 via Zoom.               7.30   750.00   5,475.00
          KEC    B190          Strategy communications regarding Motion to Dismiss          1.20   750.00     900.00
                               trial day 1 and preparations for day 2.
          KEC    B190          Analysis of Motion to Dismiss day 2 materials and             .90   750.00     675.00
                               searches for supplemental information for upcoming
                               expert testimony.
          DLS    B190          Attend Day One Trial on MTD.                                10.20   750.00   7,650.00
          DLS    B190          Meet with Committee and Counsel to Prepare for Day           1.90   750.00   1,425.00
                               Two MTD Trial.
          DLS    B190          Assist with Preparation for Mongon and Lisman Cross          4.50   750.00   3,375.00
                               Exam. Work with Rich Katz on Demonstrative Exhibits for
                               Mongon and Lisman Cross Exams.
          TLC    B190          Attending portion of Motion to Dismiss Hearing via           2.70   550.00   1,485.00
                               Zoom.
          KB     B190          Confer with J Turner re status of preparations for            .10   975.00      97.50
                               dismissal hearing.
          KB     B190          Attend hearing on motions to dismiss via Zoom.               7.30   975.00   7,117.50
          KB     B190          Confer with Turner, Bell, and Joshi re hearing and            .40   975.00     390.00
                               preparation for remainder of hearing.




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Meso Committee                                                                                           March 2, 2022
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  Date   Init    Task   Actv   Description of Service                                        Hours     Rate   Amount
         KB      B190          Email correspondence with Turner and Burrus re trial            .30   975.00    292.50
                               preparation.
         CLJ     B190          Prepare trial outline and exhibits for T. Mongon.              4.80   750.00   3,600.00
         CLJ     B190          Attend portion of hearing on motion to dismiss.                4.30   750.00   3,225.00
         CLJ     B190          Prepare outline and exhibits for A. Lisman.                    7.30   750.00   5,475.00
         CLJ     B190          Negotiate various admissibility and confidentiality             .90   750.00     675.00
                               issues.
         TBB     B190          Attending trial of motion to dismiss via zoom and              7.30   975.00   7,117.50
                               commenting to trial counsel on issues raised during
                               direct and cross examination of witnesses.
         TBB     B190          Reviewing and commenting on draft outline of                    .60   975.00     585.00
                               questioning of Mr. Kim.
         MBB     B190          Attend trial via Zoom.                                         7.30   750.00   5,475.00
         JEK     B190          Coordinate telephonic appearance at hearing scheduled           .30   325.00      97.50
                               for February 15-18, 2022
         JEK     B190          Retrieval of exhibits for use at hearing scheduled for         1.10   325.00     357.50
                               February 14, 2022 to February 18, 2022
         ECM     B190          Continue drafting summary of Matt Diaz deposition.             4.90   550.00   2,695.00
         ECM     B190          Attend opening statement in trial on motion to dismiss.        1.50   550.00     825.00
         NLB     B190          Virtually attend hearing on motion to dismiss.                 7.30   550.00   4,015.00
         NLB     B190          Receipt and review of e-mails re: strategy for witnesses        .30   550.00     165.00
                               called on first day of trial.
         RRB     B190          Attend MTD trial via Zoom and assisted in trial                7.30   850.00   6,205.00
                               preparation.
         RRB     B190          Assist in preparation for opening statement.                   1.00   850.00     850.00
         RRB     B190          Review and select documents for Mongon examination             3.80   850.00   3,230.00
                               and assist in Mongon examination preparation..
         RRB     B190          Review and select exhibits for Lisman examination and          3.40   850.00   2,890.00
                               assist in preparation for Lisman cross-examination.
         JGT     B190          Additional legal research regarding confidentiality issues.     .40   850.00     340.00
         JGT     B190          Assist team with early morning preparation for Day One         1.00   850.00     850.00
                               of the MTD hearing.
         JGT     B190          Attend portion of MTD hearing (via Zoom) and back              6.00   850.00   5,100.00
                               room preparation for Day Two.
         JGT     B190          Work on exhibits and demonstratives for Lisman                 3.50   850.00   2,975.00
                               testimony tomorrow and work with team on preparing
                               for same,
         JGT     B190          Work on exhibits and demonstratives for Mongon                 3.50   850.00   2,975.00
                               testimony and work with team regarding preparation for
                               same.
         DTM     B190          Attend MTD trial.                                             10.20   750.00   7,650.00

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  Date    Init   Task   Actv   Description of Service                                     Hours     Rate   Amount
          DTM    B190          Meeting with committee and co-counsel to discuss Day 1      2.50   750.00   1,875.00
                               of hearing and prepare for day 2 of hearing.
          DTM    B190          Work with BG team in preparation for Mongon                 3.40   750.00   2,550.00
                               testimony.
2/15/22   BAG    B190          Attend trial day two.                                       7.80   975.00   7,605.00
          BAG    B190          Prepare for day three of trial.                             5.70   975.00   5,557.50
          KEC    B190          Attend portion of Motion to Dismiss Trial Day 2.            6.90   750.00   5,175.00
          KEC    B190          Communication and assisting with trial team regarding        .80   750.00     600.00
                               document questions and preparation for Day 3 of
                               Motion to Dismiss trial.
          DLS    B190          Attend Day Two Trial on MTD.                                7.80   750.00   5,850.00
          DLS    B190          Meet with Committee and Counsel to Prepare for Day          2.00   750.00   1,500.00
                               Three MTD Trial.
          DLS    B190          Assist with Preparation for Expert Exams. Work with Rich    3.80   750.00   2,850.00
                               Katz on Demonstrative Exhibits for Expert Exams.
          KB     B190          Confer with Turner, Bell, and Joshi re Mongon testimony      .20   975.00     195.00
                               and Shipiro v Wilgus argument.
          KB     B190          Confer with J Turner re testimony, Block argument, and       .40   975.00     390.00
                               strategy for argument.
          KB     B190          Confer with M Burrus re argument strategy.                   .50   975.00     487.50
          KB     B190          Attend trial (electronically).                              6.90   975.00   6,727.50
          KB     B190          Email and text correspondence with Turner and Burrus         .90   975.00     877.50
                               re trial issues.
          CLJ    B190          Prepare examination outline and notebook for A.              .80   750.00     600.00
                               Lisman.
          CLJ    B190          Attend portion of hearing on motion to dismiss.             6.50   750.00   4,875.00
          CLJ    B190          Trial preparation, re: A. Lisman and experts.               5.80   750.00   4,350.00
          TBB    B190          Attending trial via zoom and comment with counsel           6.90   975.00   6,727.50
                               regarding trial issues which arose along with emails on
                               trial focus.
          MBB    B190          Attend trial via Zoom.                                      6.90   750.00   5,175.00
          MBB    B190          Confer with K. Barrett re: testimony of J&J witnesses.       .50   750.00     375.00
          NLB    B190          Virtually attend portions of hearing on Motion to           6.90   550.00   3,795.00
                               Dismiss.
          RRB    B190          Review of Diaz examination and prepare possible topics      2.90   850.00   2,465.00
                               for cross-examination of witness.
          RRB    B190          Attend MTD trial via Zoom to assist in cross examination    6.90   850.00   5,865.00
                               of debtor witnesses.
          RRB    B190          Meeting with FTI and counsel to prepare expert              3.00   850.00   2,550.00
                               testimony for trial.


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  Date    Init   Task   Actv   Description of Service                                         Hours     Rate   Amount
          RRB    B190          Review Lisman testimony and exhibits to prepare for             1.30   850.00   1,105.00
                               Lisman cross-examination.
          RRB    B190          Review of evidence re Project Diamond and its                    .40   850.00     340.00
                               relationship to corporate restructuring.
          JGT    B190          Attend portions of MTD hearing (via Zoom) and back              6.90   850.00   5,865.00
                               room preparation work for Day Three.
          JGT    B190          Work with team and FTI on preparation for testimony of          2.50   850.00   2,125.00
                               Matt Diaz.
          JGT    B190          In light of issue raised by Debtor regarding Lisman             1.80   850.00   1,530.00
                               testifying live designate Lisman testimony.
          DTM    B190          Attend Day 2 of MTD hearing.                                    7.80   750.00   5,850.00
          DTM    B190          Meeting with co-counsel and committee to discuss Day 2          2.10   750.00   1,575.00
                               of MTD hearing and prepare for Day 3 of MTD hearing.
          DTM    B190          Work with BG team to prepare for Day 3 of MTD hearing           3.80   750.00   2,850.00
                               and John Kim and Lisman cross exam.
2/16/22   BAG    B190          Prepare for and participate in trial day.                       8.50   975.00   8,287.50
          BAG    B190          Post trial meeting among movants for closing                    2.10   975.00   2,047.50
                               coordination as well as expert coordination.
          KEC    B190          Attend Motion to Dismiss Day 3 hearing with                     7.30   750.00   5,475.00
                               preparation therefore.
          KEC    B190          Communication and work with Motion to Dismiss trial              .90   750.00     675.00
                               teams regarding documents for experts and assisting
                               with preparation for next day hearing work.
          KEC    B190          Work with Experts regarding Motion to Dismiss.                   .20   750.00     150.00
          DLS    B190          Attend Day Three Trial on MTD.                                  7.30   750.00   5,475.00
          DLS    B190          Meet with Committee and Counsel to Prepare for Day              2.10   750.00   1,575.00
                               Four MTD Trial.
          DLS    B190          Continue to Work with Rich Katz on Demonstrative                2.20   750.00   1,650.00
                               Exhibits for Expert Exams.
          KB     B190          Attend motion to dismiss trial (electronically).                6.60   975.00   6,435.00
          KB     B190          Confer with J Turner re expert testimony and closing.            .20   975.00     195.00
          KB     B190          Confer with M Burrus re insurers' motions and potential          .20   975.00     195.00
                               impact on motion to dismiss.
          CLJ    B190          Prepare for trial.                                              2.70   750.00   2,025.00
          CLJ    B190          Attend portion of trial.                                        3.30   750.00   2,475.00
          TBB    B190          Attending trial on motion to dismiss by Zoom and                6.60   975.00   6,435.00
                               drafting comments and suggestions on witness inquiries.
          MBB    B190          Confer with K. Barrett, C. Joshi, R. Bell, and J. Turner re:     .40   750.00     300.00
                               testimony / evidence elicited in the trial proceedings.
          MBB    B190          Attend motion to dismiss proceedings by Zoom.                   6.60   750.00   4,950.00


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  Date    Init   Task   Actv   Description of Service                                     Hours     Rate    Amount
          MBB    B190          Review New Jersey coverage plaintiff-insurers motion re:     .60   750.00     450.00
                               the automatic stay.
          JEK    B190          Review docket and retrieval of recently field documents      .80   325.00     260.00
                               and correspondence.
          JEK    B190          Monitor portions of Court Hearing regarding motion to       1.10   325.00     357.50
                               dismiss via Zoom video conference.
          NLB    B190          Virtual attendance at hearing on MTD.                       6.60   550.00    3,630.00
          RRB    B190          Trial prep re Lisman and Diaz testimony.                    1.50   850.00    1,275.00
          RRB    B190          Attend trial for Lisman testimony.                          3.00   850.00    2,550.00
          RRB    B190          Attend trial via Zoom for S&P testimony and Burian          3.00   850.00    2,550.00
                               testimony.
          RRB    B190          Assist in preparation of Diaz expert testimony.             1.90   850.00    1,615.00
          JGT    B190          Early morning hearing preparation with team.                2.00   850.00    1,700.00
          JGT    B190          Attend portions of MTD hearing (Live).                      3.60   850.00    3,060.00
          JGT    B190          Attend portions of MTD hearing (via Zoom).                  3.00   850.00    2,550.00
          DTM    B190          Attend Day 3 of MTD hearing.                                7.30   750.00    5,475.00
          DTM    B190          Meeting with committee and co-counsel to discuss Day 3      1.80   750.00    1,350.00
                               of trial and prepare for Day 4 of trial.
          DTM    B190          Work with BG team to prepare for Day 4 of MTD hearing       3.80   750.00    2,850.00
                               to include Diaz testimony and closing.
2/17/22   BAG    B190          Attend trial and work with Ian on rebuttal close.          10.30   975.00   10,042.50
          KEC    B190          Attend Motion to Dismiss hearing Day 4.                     7.20   750.00    5,400.00
          KEC    B190          Communication and assistance for Motion to Dismiss           .40   750.00      300.00
                               trial teams regarding documents and supporting
                               information for Day 3/Closing.
          DLS    B190          Attend Day Four Trial on MTD.                               7.20   750.00    5,400.00
          DLS    B190          Meet with Committee and Counsel to Prepare for Day          2.50   750.00    1,875.00
                               Five MTD Trial.
          KB     B190          Attend motion to dismiss trial (electronically).            6.30   975.00    6,142.50
          KB     B190          Confer with Turner, Bell and Joshi re expert testimony.      .10   975.00       97.50
          KB     B190          Confer with Turner, Burrus, and Glasser re hearing and       .40   975.00      390.00
                               options.
          KB     B190          Confer with A Abramowitz re hearing.                         .20   975.00      195.00
          KB     B190          Confer with Glasser re hearing and trustee request.          .30   975.00      292.50
          CLJ    B190          Prepare for motion to dismiss hearing.                      1.10   750.00      825.00
          CLJ    B190          Attend portions of motion to dismiss hearing.               6.00   750.00    4,500.00
          TBB    B190          Reviewing and commenting on drafts of closing                .40   975.00      390.00
                               arguments.
          TBB    B190          Attending trial of motion to dismiss by zoom and            6.30   975.00    6,142.50
                               suggesting areas of further question.

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  Date    Init   Task   Actv   Description of Service                                        Hours     Rate   Amount
          TBB    B190          Cal with B. Glasser regarding issues to address in closing      .20   975.00    195.00
                               argument reply.
          MBB    B190          Attend trial electronically.                                   6.30   750.00   4,725.00
          MBB    B190          Confer with BG team re: closing arguments and issues            .40   750.00     300.00
                               raised therein.
          MBB    B190          Confer with K. Barrett re: closing argument.                    .20   750.00     150.00
          JEK    B190          Review docket and retrieval of recently field documents         .90   325.00     292.50
                               and correspondence.
          JEK    B190          Monitor portions of Court Hearing regarding motion to          1.00   325.00     325.00
                               dismiss via Zoom video conference.
          NLB    B190          Virtually attend portions of hearing on MTD.                   4.80   550.00   2,640.00
          RRB    B190          Review of slide decks for closing arguments and outlines        .90   850.00     765.00
                               for closing arguments; review of emails re same.
          RRB    B190          Attend closing arguments via Zoom on MTD bankruptcy            3.00   850.00   2,550.00
                               for bad faith.
          RRB    B190          T/c's and email exchanges re possible appoint of trustee        .40   850.00     340.00
                               if court does not dismiss.
          RRB    B190          Attend trial via Zoom for Diaz testimony and expert            3.00   850.00   2,550.00
                               testimony for LTL
          JGT    B190          Reviewed opening outline and slides and provide brief           .70   850.00     595.00
                               feedback to Glasser.
          JGT    B190          Attend MTD hearing (experts)                                   2.80   850.00   2,380.00
          JGT    B190          Attend hearing (closings)                                      3.00   850.00   2,550.00
          DTM    B190          Attend Day 4 of MTD hearing.                                   7.20   750.00   5,400.00
          DTM    B190          Meeting with committee and co-counsel to discuss Day 4         1.00   750.00     750.00
                               of MTD hearing and prepare for Day 5 of MTD hearing.
2/18/22   BAG    B190          Attend final day of trial as well as preliminary injunction    8.30   975.00   8,092.50
                               closings.
          KEC    B190          Attend portions of Day 5 of Motion to Dismiss hearing.         3.00   750.00   2,250.00
          KEC    B190          Communication with Committee Counsel and                        .30   750.00     225.00
                               Representatives regarding document needs related to
                               discovery productions and trial materials.
          DLS    B190          Attend Final Day Morning of MTD Trial.                         3.20   750.00   2,400.00
          DLS    B190          Attend Afternoon of Final Day MTD Trial and Preliminary        5.20   750.00   3,900.00
                               Injunction Hearing.
          KB     B190          Attend trial on motion to dismiss (electronically).            3.20   975.00   3,120.00
          CLJ    B190          Prepare for hearing.                                            .50   750.00     375.00
          CLJ    B190          Attend MTD closing arguments and PI hearing                    5.00   750.00   3,750.00
                               arguments.




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          TBB    B190          Attending trial of motion to dismiss on zoom and making    3.20   975.00   3,120.00
                               suggestions/comments on issues that arise during trial
                               and closing arguments.
          MBB    B190          Attend portions of motion to dismiss hearing               3.30   750.00   2,475.00
                               electronically.
          JEK    B190          Review docket and retrieval of recently field documents     .80   325.00     260.00
                               and correspondence.
          JEK    B190          Monitor Court Hearing regarding motion to dismiss via       .80   325.00     260.00
                               Zoom video conference.
          NLB    B190          Virtually attend part of hearing on MTD.                   2.50   550.00   1,375.00
          RRB    B190          Attend via Zoom closing arguments on MTD.                  3.00   850.00   2,550.00
          JGT    B190          Attend MTD hearing (closings).                             3.00   850.00   2,550.00
          DTM    B190          Attend Day 5 of MTD hearing.                               3.20   750.00   2,400.00
2/19/22   KEC    B190          Communication with Committee Counsel and                    .40   750.00     300.00
                               Representatives regarding strategy regarding post
                               Motion to Dismiss.
          KB     B190          Email correspondence re supplemental letter on              .20   975.00     195.00
                               dismissal motion and response to possible settlement.
          TBB    B190          Reviewing emails regarding supplementation to trial         .30   975.00     292.50
                               materials and responding to same along with responding
                               to follow up meeting on strategy.
          MBB    B190          Review multiple correspondence from Committee re:           .20   750.00     150.00
                               post-hearing litigation / bankruptcy strategy.
2/20/22   BAG    B190          Call with Committee Representatives on next moves           .70   975.00     682.50
          TB     B190          Call with T. Bennett regarding new research project         .10   800.00      80.00
                               concerning standing and appellate options.
          TB     B190          Legal research on project concerning standing and          2.00   800.00   1,600.00
                               appellate options.
          KEC    B190          Communication with Committee Counsel and                    .40   750.00     300.00
                               Representatives following Motion to Dismiss trial.
          DLS    B190          Internal BG Call to discuss next steps and anticipate       .40   750.00     300.00
                               issues for advice to Committee.
          DLS    B190          Call with Counsel and Committee Re Next Steps,              .70   750.00     525.00
                               Anticipate Issues and Plans.
          KB     B190          Confer with BG team re strategy following hearing on        .30   975.00     292.50
                               dismissal.
          KB     B190          Confer with M Burrus re committee call.                     .30   975.00     292.50
          TBB    B190          Conference call with Bailey Glasser attorneys regarding     .30   975.00     292.50
                               going forward strategy.




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          TBB    B190          Calls with B. Glasser and T. Basdekis regarding issues         .40   975.00    390.00
                               related to appeals of interim rulings and research
                               regarding same.
          TBB    B190          Emails to T. Basdekis regarding research project for           .30   975.00     292.50
                               potential appeal of motion to dismiss ruling and email to
                               J. Massey regarding his questions on standing.
          TBB    B190          Drafting outline of relevant facts for T. Basdekis'            .30   975.00     292.50
                               research on standing issues.
          MBB    B190          Call with committee re: next steps post- trial on motion       .80   750.00     600.00
                               to dismiss.
          MBB    B190          Confer with BG team re: next steps in case post-motion         .40   750.00     300.00
                               to dismiss hearing.
          MBB    B190          Confer with K. Barrett re: post-trial litigation /             .20   750.00     150.00
                               bankruptcy strategy.
          RRB    B190          T/c with committee and representatives on next steps.          .80   850.00     680.00
          DTM    B190          Call with BG team re: next steps, reconstitution, etc          .50   750.00     375.00
2/21/22   TB     B190          Legal research on appellate options and potential             6.50   800.00   5,200.00
                               standing issues.
          KEC    B190          Post Motion to Dismiss trial organization of working files    1.90   750.00   1,425.00
                               and work with ESI library prior to the start of the next
                               phases of the bankruptcy.
          TBB    B190          Review of research from T. Basdekis relating to appeal         .60   975.00     585.00
                               issues for motion to dismiss and preliminary injunction
                               along with emails to T. Basdekis and B. Glasser regarding
                               same.
          MBB    B190          Review correspondence from J. Block re: exhibits used at       .10   750.00      75.00
                               trial.
          JEK    B190          Review docket and retrieval of recently field documents        .70   325.00     227.50
                               and correspondence.
          JGT    B190          Review e-mail traffic and brief telephone conference           .30   850.00     255.00
                               with Robert Bell regarding the results from the team
                               conference call yesterday.
2/22/22   BAG    B190          Coordination call with TCC1                                    .70   975.00     682.50
          BAG    B190          Coordination call with our committee.                          .60   975.00     585.00
          TB     B190          Legal research on standing issues.                            4.70   800.00   3,760.00
          KEC    B190          Communication and work with Motion to Dismiss trial            .30   750.00     225.00
                               presentations for Committee Counsel.
          KEC    B190          Participate in Committee Counsel and Professionals             .70   750.00     525.00
                               strategy call.
          KB     B190          Confer with TCC I and TCC II counsel.                          .50   975.00     487.50
          KB     B190          Confer with TCC II counsel.                                    .60   975.00     585.00


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Meso Committee                                                                                         March 2, 2022
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  Date    Init   Task   Actv   Description of Service                                      Hours     Rate   Amount
          TBB    B190          Zoom meeting of counsel for TCC I and TCC II regarding        .70   975.00    682.50
                               various issues and matters relating to contested matters.
          TBB    B190          Zoom meeting with TCC II counsel and committee                .60   975.00     585.00
                               representatives.
          TBB    B190          Call and email regarding means to retain standing to         1.60   975.00   1,560.00
                               appeal any adverse ruling on motion to dismiss along
                               with analysis of case law and secondary authorities on
                               same and emails with T. Basdekis regarding further
                               research.
          TBB    B190          Drafting outline of issues on standing to appeal.             .20   975.00     195.00
          MBB    B190          Confer with committee counsel for TCC I and II re: post-      .70   750.00     525.00
                               motion to dismiss litigation / bankruptcy issues.
          MBB    B190          Confer with J. Turner re: post-motion to dismiss hearing      .30   750.00     225.00
                               case strategy.
          MBB    B190          Confer with committee counsel and advisors re: post-          .60   750.00     450.00
                               hearing case strategy.
          JEK    B190          Review docket and retrieval of recently field documents       .80   325.00     260.00
                               and correspondence.
          NLB    B190          Review Debtor's Amicus Brief Omnibus Response.                .70   550.00     385.00
          RRB    B190          Review of LTL's response to amici briefs.                     .50   850.00     425.00
          JGT    B190          Review Debtor's closing slides.                               .60   850.00     510.00
          JGT    B190          Telephone conference with Maggie B. regarding status          .30   850.00     255.00
                               and possibilities with respect to proceeding forward.
          JGT    B190          Review Debtor's Omnibus Response to the Amici Briefs          .50   850.00     425.00
                               (including statements attached as exhibits).
2/23/22   BAG    B190          Meeting with Committee.                                       .70   975.00     682.50
          TB     B190          Legal research on appeal options including potential         5.50   800.00   4,400.00
                               standing issues.
          KEC    B190          Attend Committee Counsel, Member and Representative           .70   750.00     525.00
                               call regarding post Motion to Dismiss strategy.
          TBB    B190          Zoom meeting with co-counsel and committee                    .70   975.00     682.50
                               members' counsel regarding various upcoming issues
                               relating to dismiss.
          TBB    B190          Call with T. Basdekis regarding research on standing          .30   975.00     292.50
                               issues along with review of additional case law regarding
                               same.
          MBB    B190          Review letter to court from TCC I re: Debtor's suggestion     .10   750.00      75.00
                               to appoint an examiner.
          MBB    B190          Review email from L. Reichart re: response to Debtor's        .10   750.00      75.00
                               suggestion to appoint examiner.



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Meso Committee                                                                                           March 2, 2022
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  Date    Init   Task   Actv   Description of Service                                        Hours     Rate   Amount
          NLB    B190          Zoom conference with professionals and                          .70   550.00    385.00
                               representatives.
          RRB    B190          T/c with Meso committee and clients re case issues and          .70   850.00     595.00
                               strategy moving forward
          RRB    B190          Review of issues and emails re selection of an FCR.             .40   850.00     340.00
          JGT    B190          Participate in call with the Meso Committee                     .70   850.00     595.00
                               representatives.
2/24/22   TB     B190          Legal research on different avenues for appeal including       6.50   800.00   5,200.00
                               standing issues.
          KB     B190          Review draft letter to court re extension of committee          .10   975.00      97.50
                               deadline.
          KB     B190          Confer with J Turner re trial, likely outcome, and strategy     .50   975.00     487.50
                               going forward.
          TBB    B190          Analysis of case law on legal issues regarding potential       2.80   975.00   2,730.00
                               appeal of motion to dismiss and preliminary injunction
                               along with emails with T. Basdekis regarding same..
          RRB    B190          Review of emails and issues re appointment of an FCR.           .30   850.00     255.00
          JGT    B190          Telephone conference with Kevin B. regarding status.            .50   850.00     425.00
2/25/22   BAG    B190          Initial read of court's opinions on the motion to dismiss      1.60   975.00   1,560.00
                               and the preliminary injunction.
          BAG    B190          Call with committee members to discuss court's recent          1.10   975.00   1,072.50
                               opinions.
          TB     B190          Drafting of legal memorandum on standing and                   5.30   800.00   4,240.00
                               appellate options.
          TB     B190          Review of ruling on motion to dismiss and strategic            1.00   800.00     800.00
                               consideration of same in connection with appellate
                               research.
          KEC    B190          Review of Motion to Dismiss Order and communications           1.40   750.00   1,050.00
                               regarding the same.
          KB     B190          Review decisions on motion to dismiss and preliminary          1.90   975.00   1,852.50
                               injunction and email correspondence and conferences
                               with BG team re same.
          CLJ    B190          Review decision from court on MTD.                              .60   750.00     450.00
          TBB    B190          Review and analysis of Court's ruling on motion to             1.30   975.00   1,267.50
                               dismiss.
          TBB    B190          Zoom meeting with co-counsel and counsel for                   1.10   975.00   1,072.50
                               committee members regarding rulings on motion to
                               dismiss and injunction.
          TBB    B190          Calls with T. Basdekis regarding memorandum on                  .50   975.00     487.50
                               standing and aggrieved person status vis-a-vis TCC II and
                               individual talc claimants along with call with B. Glasser
                               regarding same.

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Meso Committee                                                                                          March 2, 2022
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  Date    Init   Task   Actv   Description of Service                                       Hours     Rate   Amount
          MBB    B190          Call with Committee re: motion to dismiss/ PI decision.       1.20   750.00     900.00
          MBB    B190          Review Court's decision denying motions to dismiss.            .60   750.00     450.00
          RRB    B190          Review of court's opinions on the MTD and motion for          1.50   850.00   1,275.00
                               PI.
          RRB    B190          T/c with trial teams re court's orders on MTD and             1.00   850.00     850.00
                               motion for PI.
          RRB    B190          Review of letter to the court and emails and issues re         .40   850.00     340.00
                               FCR and whether 2 committees will remain.
          JGT    B190          Review opinions issued by Court and telephone                 1.20   850.00   1,020.00
                               conferences with Bell regarding same.
          JGT    B190          Telephone conference with Barrett regarding the recent         .50   850.00     425.00
                               opinions.
          JGT    B190          Zoom call with Meso Committee reps and co-counsel             1.00   850.00     850.00
                               regarding the recent opinions and plans for proceeding
                               forward.
2/26/22   TB     B190          Drafting of legal memorandum on standing and appeal           7.40   800.00   5,920.00
                               options.
          CLJ    B190          Conference with legal team, re: next steps.                    .90   750.00     675.00
          TBB    B190          Analyzing memorandum opinion on motion to dismiss             2.40   975.00   2,340.00
                               regarding potential issues for appeal and basis of how
                               decision was reached.
          TBB    B190          Reviewing case law on appeal issues regarding denial of       1.40   975.00   1,365.00
                               motion to dismiss along with analysis of underlying
                               authorities, calls and emails with T. Basdekis regarding
                               same, and drafting of portion of memorandum regarding
                               appeal issues.
2/27/22   TB     B190          Drafting of memo on standing and appellate options.           9.50   800.00   7,600.00
          KEC    B190          Communication with Committee Representatives and               .40   750.00     300.00
                               Counsel regarding post Motion to Dismiss Order and
                               strategy.
          TBB    B190          Researching appellate issues and analyzing research           1.50   975.00   1,462.50
                               regarding same along with memo to T. Basdekis
                               regarding follow up issues regarding same, call with T.
                               Basdekis regarding same, and call with B.Glasser
                               regarding same.
          TBB    B190          Review and analysis of appeal recommendations from             .30   975.00     292.50
                               representatives of TCC II committee members.
          TBB    B190          Revising draft memorandum on appeal issues relating to         .90   975.00     877.50
                               motion to dismiss along with calls and emails with T.
                               Basdekis regarding same.
          RRB    B190          Review of emails and issues re post trial motions relating     .40   850.00     340.00
                               to MTD and PI orders.


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Meso Committee                                                                                           March 2, 2022
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   Date   Init   Task   Actv   Description of Service                                       Hours      Rate   Amount
2/28/22   BAG    B190          Call with Jon Massey on appeal and email traffic on same       .50    975.00    487.50
                               with Committee.
          BAG    B190          Call with Committee.                                           .70    975.00     682.50
          TB     B190          Edits to memo on standing and other appellate issues.         3.00    800.00   2,400.00
          TB     B190          Legal research on standing.                                   2.50    800.00   2,000.00
          KEC    B190          Communication with Committee Representatives and               .40    750.00     300.00
                               TCC 1 regarding Future Claims Representative.
          KB     B190          Review Massey outline of argument on two committee             .20    975.00     195.00
                               approach.
          KB     B190          Confer with Turner, Bell, and McGraw re status and             .40    975.00     390.00
                               strategy going forward relative to appeal,
                               reconsideration, and two committees.
          KB     B190          Confer with A Abramowitz re decision and strategy going        .30    975.00     292.50
                               forward.
          KB     B190          Email correspondence with Glasser and BG team re               .10    975.00      97.50
                               response to Klein email on strategy going forward.
          TBB    B190          Calls and emails with B. Glasser regarding appeal issues       .60    975.00     585.00
                               along with others at Bailey Glasser along with review of
                               revised memorandum regarding same.
          TBB    B190          Review and revising of further draft memorandum on             .80    975.00     780.00
                               appeal issues with respect to the motion to dismiss
                               along with calls with T. Basdekis and B. Glasser regarding
                               same.
          MBB    B190          Review multiple email correspondence between counsel           .10    750.00      75.00
                               re: possible appellate considerations.
          ECM    B190          Call with Barrett, Turner, Bell, re: motion to dismiss         .40    550.00     220.00
                               ruling and appeal.
          RRB    B190          Attendance at Zoom call with counsel re strategy re           1.20    850.00   1,020.00
                               appeal and post trial motions.
          JGT    B190          Zoom call with Meso Committee representatives                 1.10    850.00     935.00
                               regarding status of pending matters and plans for
                               proceeding forward.
          JGT    B190          Review e-mail traffic (and memos) circulated over the          .30    850.00     255.00
                               week-end regarding various pending matters.


                                      Sub-Total of Task             $ 1,153,080.00

B195 Non Working Travel

  Date    Init   Task   Actv   Description of Service                                        Hours     Rate   Amount



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   Date   Init   Task   Actv   Description of Service                                          Hours     Rate   Amount
2/02/22   BAG    B195          Travel to Miami for meeting with committee (4.40 hours,          2.20   975.00   2,145.00
                               billed half time)
          KB     B195          Travel to Miami for strategy meeting (5.0 hours, billed half     2.50   975.00   2,437.50
                               time).
2/04/22   BAG    B195          Travel from Miami to DC (5.6 hours, only billed half time)       2.80   975.00   2,730.00
          DLS    B195          Travel from Miami to Bham: Return from Miami                     3.10   750.00   2,325.00
                               Committee/Counsel MTD Preparation Meetings (6.2
                               hours, billed half time).
          KB     B195          Travel from Miami to New York (3.8 hours, billed hafl            1.90   975.00   1,852.50
                               time).
          DTM    B195          Travel from Miami to STL from MTD meetings (8.0 hours,           4.00   750.00   3,000.00
                               billed half time)
2/05/22   RRB    B195          Travel to DC from Waco for trial prep and trial (7.0 hours,      3.50   850.00   2,975.00
                               billed half time).
          JGT    B195          Travel time from Austin to Washington DC for MYD                 2.90   850.00   2,465.00
                               hearing prep with team (5.80 hours, billed half time).
2/08/22   ECM    B195          Attend deposition of Adam Lisman (2.8 hours, billed half         1.40   550.00    770.00
                               time).
2/09/22   BAG    B195          Travel to Princeton (1.4 hours, billed half time).                .70   975.00     682.50
          RRB    B195          Travel to Princeton NJ from DC for trial (2.6 hours, billed      1.30   850.00   1,105.00
                               half time).
2/10/22   CLJ    B195          Travel to Trenton for hearing (4.0 hours, billed half time).     2.00   750.00   1,500.00
          JGT    B195          Travel to New Jersey to work on the MTD hearing (4.6             2.30   850.00   1,955.00
                               hours, billed half time).
2/12/22   DLS    B195          Travel from Phoenix AZ to Princeton NJ: MTD Hearing              4.70   750.00   3,525.00
                               Preparation and Attendance (9.4 hours, billed half time).
          DTM    B195          Travel to Princeton NJ for MTD hearing (8.2 hours, billed        4.10   750.00   3,075.00
                               half time).
2/18/22   CLJ    B195          Travel home from hearings in Trenton (2.6 hours, billed          1.30   750.00    975.00
                               half time).
          RRB    B195          Travel time for travel from Princeton NJ to DC after trial        .70   850.00    595.00
                               on MTD (1.4 hours, billed half time).
          RRB    B195          Travel from DC to Dallas post trial (7.6 hours, billed half      3.80   850.00   3,230.00
                               time).
          JGT    B195          Travel time from New Jersey to Austin (8.6 hours, billed         4.30   850.00   3,655.00
                               half time).
          DTM    B195          Travel from NJ to STL from MTD hearing (4.8 hours, billed        2.40   750.00   1,800.00
                               half time).
2/19/22   DLS    B195          Travel from Princeton NJ to Birmingham AL (9.6 hours,            4.80   750.00   3,600.00
                               billed half time).



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   Date   Init     Task     Actv   Description of Service                                           Hours     Rate     Amount
          RRB      B195            Travel from Dallas to Waco post trial (2.0 hours, billed half     1.00   850.00      850.00
                                   time).


                                             Sub-Total of Task             $ 47,247.50

                                             TOTAL PROFESSIONAL SERVICES                                      $ 1,273,157.50

EXPENSES ADVANCED

Copying

     Date    Task         Description                                                                                  Amount
  2/09/22    E101         Copying/Printing                                                                              184.00

                                             Sub-Total of Expenses:                                                   $ 184.00

Outside Printing

     Date    Task         Description                                                                                  Amount
  1/31/22    E102         CVK Reprographics, Inc. - Document Production and Delivery on 1/28/2022.                      465.72
  2/14/22    E102         Cary Joshi; Four Binders made for Trial Team on 02/14/2022.                                    76.56
  2/15/22    E102         Cary Joshi; Copies for witness binders on 02/15/2022.                                         233.71

                                             Sub-Total of Expenses:                                                   $ 775.99

Online Research

     Date    Task         Description                                                                                 Amount
  2/14/22    E106         Legal Research for January 2022.                                                            3,932.22

                                             Sub-Total of Expenses:                                                  $ 3,932.22

Delivery Services/Messenger

     Date    Task         Description                                                                                  Amount
  1/31/22    E107         CVK Reprographics, Inc. - Document Production and Delivery on 1/28/2022.                       25.00
  2/07/22    E107         FedEx - Meso / TLT - Shipment to Jody Blair on 1/26/2022.                                      25.87
  2/07/22    E107         Fedex - Meso / TLT - Shipment to Michelle Ryan on 1/25/2022.                                   48.67
  2/15/22    E107         FedEx - Shipment to Cary Joshi on 2/10/2022.                                                   29.51
  2/25/22    E107         FedEx - MESO Committee / LTL - Shipment to Richard Katz on 2/8/2022.                           31.50
  2/25/22    E107         FedEx - MESO Committee / LTL - Shipment to Richard Katz on 2/8/2022.                           31.50


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     Date   Task     Description                                                                           Amount
  2/25/22   E107     FedEx - MESO Committee / LTL - Shipment to Richard Katz on 2/8/2022. Void              -31.50
                     Check # - 000085412

                                     Sub-Total of Expenses:                                                $ 160.55

Out-of-Town Travel

     Date   Task     Description                                                                           Amount
  1/26/22   E110     Cary Joshi; Cab Fare for Cary Joshi on 01/26/2022.                                      10.99
  1/29/22   E110     Cary Joshi; Cab Fare for Cary Joshi on 01/29/2022.                                      12.99
  1/29/22   E110     Cary Joshi; Cab Fare for Cary Joshi on 01/29/2022.                                      10.37
  1/31/22   E110     Cary Joshi; Cab Fare for Cary Joshi on 01/31/2022.                                      19.91
  2/02/22   E110     Court Call for Tom Bennett on 02/02/2022.                                               50.00
  2/02/22   E110     Court Call for Kevin Barrett on 02/02/2022.                                             50.00
  2/02/22   E110     Court Call for Brian Glasser on 02/02/2022.                                             50.00
  2/02/22   E110     Court Call for Maggie Burrus on 02/02/2022.                                             50.00
  2/02/22   E110     Lodging for Richard Katz 1/31/2022 - 2/2/2022 at the Graham in Georgetown,             710.40
                     DC.
  2/02/22   E110     Kevin Barrett; Round Trip Airfare to Miami, FL from NYC on 02/02/2022 &                 177.30
                     02/04/2022.
  2/02/22   E110     Kevin Barrett; Car service from Home to LGA for Kevin Barrett on 02/02/2022.            125.45
  2/02/22   E110     Kevin Barrett; Airfare Wifi for Kevin Barrett on 02/02/2022.                              5.00
  2/02/22   E110     Kevin Barrett; Cab Fare for Kevin Barrett on 02/02/2022 in Miami, FL.                    53.53
  2/03/22   E110     Brian A. Glasser; Airfare Wifi Access for Brian Glasser on 02/03/2022.                   19.00
  2/03/22   E110     Court Call for Maggie Burrus on 02/03/2022.                                              50.00
  2/03/22   E110     Court Call for Tom Bennett on 02/03/2022.                                                50.00
  2/04/22   E110     Kevin Barrett; Car service from LGA to Home for Kevin Barrett on 02/04/2022.            125.42
  2/04/22   E110     Kevin Barrett; Airfare Wifi for Kevin Barrett on 02/04/2022.                              5.00
  2/04/22   E110     Kevin Barrett; Cab Fare for Kevin Barrett on 02/04/2022 on Expressway, NW.               34.17
  2/05/22   E110     Robert Bell; Airfare to DC from Dallas on 02/05/2022.                                   386.98
  2/05/22   E110     Robert Bell; Cab Fare for Robert Bell on 02/05/2022.                                     39.07
  2/05/22   E110     John Turner III; Airfare from Austin, TX to DC on 02/05/2022.                           346.98
  2/09/22   E110     Brian A. Glasser; Parking for Brian Glasser on 02/09/2022                                12.00
  2/09/22   E110     Robert Bell; Cab Fare for Robert Bell on 02/09/2022.                                     13.67
  2/09/22   E110     Robert Bell; Lodging for Robert Bell on 02/05/2022 - 02/09/2022 at                      878.92
                     Washington Marriott, Georgetown, DC.
  2/10/22   E110     Court Call for Maggie Burrus on 02/10/2022.                                              50.00
  2/10/22   E110     Court Call for Kevin Barrett on 02/10/2022.                                              50.00
  2/10/22   E110     Court Call for Tom Bennett on 02/10/2022.                                                50.00


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     Date   Task   Description                                                                              Amount
  2/10/22   E110   Court Call for Cary Joshi on 02/10/2022.                                                   50.00
  2/10/22   E110   John Turner III; Parking at DC office for John Turner on 02/10/2022.                       22.00
  2/14/22   E110   Cary Joshi; Cab Fare for Cary Joshi on 02/14/2022.                                         18.36
  2/14/22   E110   Court Call for Maggie Burrus on 02/14/2022.                                                50.00
  2/15/22   E110   Cary Joshi; Parking for Cary Joshi on 02/15/2022 in Trenton, NJ.                           12.00
  2/16/22   E110   John Turner III; Parking at Trenton courthouse for John Turner on 02/16/2022.              12.00
  2/18/22   E110   Robert Bell; Parking at Airport on 02/05/2022 - 02/19/2022.                               137.48
  2/18/22   E110   Robert Bell; Airfare from DC to Dallas on 02/18/2022.                                     386.98
  2/18/22   E110   Rental car for John Turner 2/9/2022 - 2/18/2022 while in DC.                              925.51
  2/18/22   E110   John Turner III; Parking at DC office for John Turner on 02/18/2022.                       22.00
  2/18/22   E110   John Turner III; Airfare from DC to Austin, TX on 02/18/2022.                             346.98
  2/18/22   E110   John Turner III; Fuel for rental car for John Turner in NJ on 02/18/2022.                  43.83
  2/19/22   E110   Robert Bell; Mileage from Love Field to Dallas, TX and return on 02/19/2022.              131.04
                   (244 Miles)
  2/19/22   E110   Robert Bell; Lodging for Robert Bell on 02/18/2022 - 02/19/2022 and Westin                 300.59
                   Hotels in Dallas, TX.
  2/19/22   E110   Robert Bell; Lodging Wifi for Robert Bell on 02/19/2022.                                    18.95
  2/19/22   E110   Rental car for David Selby 2/12/2022 - 2/19/2022 in PA.                                  1,750.07
  2/21/22   E110   Hotel parking at Nassua Inn Princeton, NJ for Richard Katz, Brian Glasser, John            652.46
                   Turner and Todd Mathews 2/8/2022 - 2/18/2022
  2/21/22   E110   Lodging at Nassua Inn Princeton, NJ for Brian Glasser, Richard Katz, Robert             14,966.30
                   Bell, John Turner, Cary Joshi, Todd Mathews and David Selby 2/8/2022 -
                   2/18/2022
  2/23/22   E110   Conference room rental at Nassua Inn Princeton, NJ for trial team 2/9/2022 -            10,277.67
                   2/19/2022
  2/23/22   E110   Wifi Access in Conference room rental at Nassua Inn Princeton, NJ for trial              1,755.00
                   team 2/9/2022 - 2/19/2022

                                   Sub-Total of Expenses:                                                $ 35,316.37

Meals

     Date   Task   Description                                                                              Amount
  2/02/22   E111   Kevin Barrett; Meals for Kevin Barrett on 02/02/2022.                                      30.77
  2/05/22   E111   John Turner III; Meals for John Turner on 02/05/2022.                                      30.85
  2/06/22   E111   John Turner III; Meals for John Turner on 02/06/2022.                                      18.07
  2/08/22   E111   Elliott McGraw; Meals for JJ trial team on 02/08/2022.                                    189.09
  2/08/22   E111   John Turner III; Meals for John Turner on 02/08/2022.                                      25.90
  2/09/22   E111   John Turner III; Meals for John Turner on 02/09/2022.                                      19.32
  2/10/22   E111   John Turner III; Meals for John Turner on 02/10/2022.                                      14.51

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Meso Committee                                                                                                 March 2, 2022
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     Date   Task         Description                                                                                Amount
  2/18/22   E111         John Turner III; Meals for John Turner on 02/18/2022.                                        14.51
  2/19/22   E111         Robert Bell; Meals/Snacks for Robert Bell on 02/19/2022.                                      5.41

                                          Sub-Total of Expenses:                                                    $ 348.43

Deposition Transcripts

     Date   Task         Description                                                                                Amount
  2/02/22   E115         Wilcox & Fetzer / Lexitas - Deposition of Jose Azevado on 1/24/2022.                       1,883.60
  2/11/22   E115         Wilcox & Fetzer / Lexitas - Transcript of Richard Dickinson on 1/26/2022.                  2,499.05
  2/24/22   E115         Veritext LLC - Transcript of Saul Burian on 2/9/2022.                                      2,728.10

                                          Sub-Total of Expenses:                                                  $ 7,110.75

Experts

     Date   Task         Description                                                                                Amount
  2/23/22   E119         Katz Consulting Group, LLC - Consulting Services for J&J Trial 12/2/2021 -                80,741.75
                         2/23/2022.

                                          Sub-Total of Expenses:                                                 $ 80,741.75

Other

     Date   Task         Description                                                                                Amount
  2/01/22   E124         CS Disco Inc - Monthly Case Hosting.                                                       2,267.50
  2/04/22   E124         Thomas Bennett; PA Toll Charges for Tom Bennett on 12/21/2021 and                             89.20
                         01/03/2022 for trips to and from Trenton, NJ.
  2/08/22   E124         Rental Copier for Trial in New Jersey. Includes Delivery, Setup, toner, services,          1,748.65
                         and pickup/retrieval.
  2/11/22   E124         Wilcox & Fetzer / Lexitas - Video of Richard Dickinson on 1/26/2022.                       1,395.00
  2/14/22   E124         Cary Joshi; Supplies for trial on 02/14/2022.                                                 28.77
  2/17/22   E124         Robert Bell; Document Production on 02/17/2022.                                               25.55
  2/22/22   E124         Ricoh USA, Inc. - Relativity User Fees.                                                       64.20
  2/26/22   E124         Tolls for John Turner 2/26/2022                                                                8.95
  2/27/22   E124         Tolls for David Selby 2/27/2022                                                                2.60

                                          Sub-Total of Expenses:                                                  $ 5,630.42


                                          TOTAL EXPENSES ADVANCED                                               $ 134,200.48



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LTL Bankruptcy                                                                          Invoice #: 89153

                                     TOTAL THIS INVOICE                                  $ 1,407,357.98

SUMMARY OF PROFESSIONAL SERVICES

Name                          Init       Staff Level          Hours          Rate                 Total
Ballante, Nicole L.           NLB        Associate            92.20        550.00             50,710.00
Bell, Robert R.               RRB        Partner             177.00        850.00            150,450.00
Mathews, D. Todd              DTM        Partner             124.50        750.00             93,375.00
Natale, Christina T.          CTN        Associate            17.70        550.00              9,735.00
Turner III, John G.           JGT        Partner             151.20        850.00            128,520.00
Wilbur, Noah C.               NCW        Paralegal             2.30        325.00                747.50
Barrett, Kevin W.             KB         Partner             109.70        975.00            106,957.50
Basdekis, Thanos              TB         Of Counsel           54.00        800.00             43,200.00
Bennett, Thomas B.            TBB        Of Counsel          111.00        975.00            108,225.00
Burrus, Maggie B              MBB        Partner              79.30        750.00             59,475.00
Charonko, Kate E.             KEC        Partner             148.90        750.00            111,675.00
Clackler, Tony L.             TLC        Associate            19.40        550.00             10,670.00
Glasser, Brian A.             BAG        Partner             174.90        975.00            170,527.50
Joshi, Cary L                 CLJ        Partner             155.80        750.00            116,850.00
Kipnis, Patricia M.           PMK        Partner               2.00        750.00              1,500.00
Kittinger, Jason E.           JEK        Paralegal            34.80        325.00             11,310.00
McGraw, Elliott C.            ECM        Associate            40.10        550.00             22,055.00
Selby, David L.               DLS        Partner             102.90        750.00             77,175.00
TOTALS                                                      1,597.70                     $ 1,273,157.50



TASK SUMMARY OF PROFESSIONAL SERVICES

Task        Description                                                       Hours            Amount
B110        B110 Case Administration                                          31.70           23,035.00
B140        B140 Relief from Stay/                                            24.80           19,915.00
B150        B150 Meetings of and                                              13.40           11,445.00
B160        B160 Fee/Employment Applic                                        20.10           18,337.50
B170        B170 Fee/Employment Objections                                      .10               97.50
B190        B190 Other Contested Matters                                   1,449.90        1,153,080.00
B195        B195 Non Working Travel                                           57.70           47,247.50
            Time total                                                 1,273,157.50




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TASK SUMMARY OF EXPENSES ADVANCED

Task         Description                                                                   Amount
E101         Copying                                                                         184.00
E102         Outside Printing                                                                775.99
E106         Online Research                                                               3,932.22
E107         Delivery Services/Messenger                                                     160.55
E110         Out-of-Town Travel                                                           35,316.37
E111         Meals                                                                           348.43
E115         Deposition Transcripts                                                        7,110.75
E119         Experts                                                                      80,741.75
E124         Other                                                                         5,630.42
             Expense total                                                             $ 134,200.48




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Meso Committee                                                                    March 2, 2022
LTL Bankruptcy                                                                  Invoice #: 89153

OUTSTANDING INVOICES

         INVOICE          DATE                 INVOICE         PAYMENTS                ENDING
         NUMBER                                  TOTAL          RECEIVED              BALANCE
           87925       2/07/22             1,771,584.69      1,421,913.19            349,671.50


                             Total Outstanding Invoices                            $ 349,671.50

                             Balance Due This Invoice                            $ 1,407,357.98

                             TOTAL BALANCE DUE                                   $ 1,757,029.48




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 209 Capitol Street
 Charleston, WV 25301
 Tel: 304.345.6555
 Toll Free: 877.852.0342
 Fax: 304.342.1110

                                                                                                         March 2, 2022

Meso Committee                                                                              Invoice #:          89153
                                                                                            Client #:        MESO001
                                                                                            Matter #:         2003903


RE:     LTL Bankruptcy


                                                REMITTANCE ADVICE

                         BALANCE DUE THIS INVOICE                                   $ 1,407,357.98

                         Outstanding Invoices                                        $ 349,671.50

                         TOTAL BALANCE DUE                                          $ 1,757,029.48

                         AMOUNT PAID WITH THIS REMITTANCE           $____________________.____



If paying by check, please return                              Bailey & Glasser LLP
this page with payment to:                                     ATTN: Accounts Receivable
                                                               209 Capitol Street
                                                               Charleston, WV 25301
                                                               (304) 345-6555

                                     Operating Account Wire Transfer Instructions

                                  Receiving Bank Name:         Summit Community Bank
                                Receiving Bank Address:        310 N Main St.
                                                               Moorefield, WV 26836

                                      Routing Number:          052202225
                                      Account Number:          11591534

                                      Beneficiary Name:        Bailey & Glasser LLP
                                                               Operating Account
                                    Beneficiary Address:       209 Capitol Street
                                                               Charleston, WV 25301
